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 2                                       THE HONORABLE BARBARA JACOBS ROTHSTEIN

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 8                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 9                                     AT SEATTLE

10
     TATIANA WESTBROOK, an individual;
11   JAMES WESTBROOK, an individual; HALO
     BEAUTY PARTNERS, LLC, a Nevada Limited NO. 2:20-cv-01606-BJR
12   Liability Company,

13                              Plaintiffs,      DECLARATION OF JAMES
                                                 WESTBROOK IN OPPOSITION TO
14         v.
                                                 MOTION TO DISMISS
15   KATIE JOY PAULSON, an individual;
     WITHOUT A CRYSTAL BALL, LLC, a
16   Minnesota Limited Liability Company; and
     DOES 1 through 100, inclusive,
17
                                Defendants.
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                                                CARROLL, BIDDLE, & BILANKO, PLLC
     DECLARATION OF JAMES                              1000 2nd Avenue, Suite 3100
     WESTBROOK -1                                          Seattle, WA 98104
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 1   I, JAMES WESTBROOK, hereby state as follows:
 2          1.      I am over the age of eighteen and am competent to testify to the facts alleged
 3   herein. I am a named Plaintiff in this case. I have personal knowledge of the matters stated
 4   below, and if called upon to do so, I could and would competently testify as to those facts.
 5          2.      I am a resident of the State of Washington. I received my current driver’s license
 6   from Washington on January 2, 2019. My personal bank accounts are all located in Washington.
 7   I own investment property in Washington. Several of my businesses and their banking accounts,
 8   including Tati, Inc., Tati Halo, Inc., and Tati Cosmetics, are all based in Washington. The
 9   Washington citizenship of these companies are publicly available, and easy to find, on the
10   Washington Secretary of State’s online database located at https://ccfs.sos.wa.gov/#/ . I do not
11   own or rent any property in California.
12          3.      For a period of time my wife, Tatiana “Tati” Westbrook, and I lived in California,
13   but we started to move to Washington in late October 2018, signed a lease agreement for our
14   new home in November 2018, and officially took possession of our new home on December 1,
15   2018. Attached hereto as Exhibit “1” is a true and correct copy of a redacted version of our
16   current lease agreement to our home in Washington, including the extension on the lease through
17   March 2021.
18          4.      My wife and I also file our personal federal income taxes in Washington and can
19   provide a copy of our tax returns for the Court’s review in chambers upon request. We filed our
20   personal federal income taxes in Washington in 2019, and also plan to do so in 2020. Due to the
21   confidential financial information contained in the tax returns, we do not wish to make the
22   returns public or otherwise waive and privacy rights or privileges we maintain therein.
23          5.      I am the Chief Operating Officer of Halo Beauty Partners, LLC. I have also
24   managed the business end of my wife’s YouTube channel for the past ten years, which is called
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 1   “GlamLifeGuru” and has over 9 million YouTube subscribers. As such, I have personal
 2   knowledge regarding how YouTube monetizes channels.
 3          6.      There are several ways in which a business or individual with a YouTube channel
 4   can earn income. These methods include, but are not limited to, the following: 1) sponsorships;
 5   2) affiliate commissions; 3) merchandise; 4) Adsense revenue; 5) members (subscriptions); and
 6   6) Super Chats. Lucrative sponsorships and affiliate commissions are usually available to very
 7   large channels with high viewerships. For smaller channels, such as Defendants’ channels,
 8   “Without a Crystal Ball” and “Katie Joy Live,” income is generally derived from the latter four
 9   methods. I will describe each one in turn.
10          7.      Merchandise is somewhat self-explanatory. I have reviewed the “Without a
11   Crystal Ball” YouTube Channel and seen that merchandise is sold thereon. For instance, there
12   are t-shirts with the “Without a Crystal Ball” name and logo available for sale. Below is a true
13   and correct screenshot I personally obtained of Defendants’ online YouTube channel store
14   advertising for sale a Without a Crystal Ball T-Shirt that says “It’s Just Facts!” found at
15   https://www.youtube.com/c/WithoutACrystalBall/store .
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 1          8.     Adsense revenue is another way for a YouTube channel to earn money from their
 2   online content. AdSense works by matching ads to the site based on provider’s content and
 3   visitors. The ads are created and paid for by advertisers who want to promote their products. The
 4   Google Ad teams sell these ads, take a commission, and pay the YouTube channel owners their
 5   share of the revenue each month.
 6          9.     YouTube channels can also derive revenue encouraging their subscribers to “join”
 7   a private community and become paid monthly members (i.e. $3, $10, $25 per month). YouTube
 8   channel owners can easily see in analytics where their subscribers and other viewers of content
 9   on a YouTube channel are located by country and even by state. Furthermore, a YouTube
10   Channel owner can even drill down in their analytics to break down viewers by geographic
11   location, gender and age, meaning that a YouTube channel owner can, if they so choose, easily
12   see how many females between the ages of 18-45 that live in a state such as Washington have
13   viewed any particular video on a particular YouTube channel. Likewise, one can see each
14   individual country from which subscribers and views are derived. Different countries have
15   different CPM1 rates for Adsense, but the United States is one of the most lucrative countries.
16   For instance, on or about August 30, 2020, on the Without a Crystal Ball channel, in a video
17   entitled, “Sister Wives Meri & Christine Brown’s Businesses Might Go Bust,” a viewer from
18   Washington said hello in a video chat, and the person I know to be Katie Joy Paulson, at
19   approximately 1:20 into the video, said hello to “Patricia” from “Washington.” I had downloaded
20   a true and correct copy of said video without Live Chat or Comments from Defendants’
21   YouTube channel and placed it into a Dropbox for the Court’s convenience, and it can be viewed
22   at:https://www.dropbox.com/s/yylj4marqi8v49f/Sister%20Wives%20Meri%20%26%20Christin
23   e%20Brown%E2%80%99%C2%80%C2%99s%20Businesses%20Might%20Go%20Bust%2008.
24   1
      CPM is a marketing term used to describe the price of 1,000 advertisement impressions on one
25   web page. If a website publisher charges $3.00 per CPM, that means an advertiser must pay
     $3.00 for every 1,000 impressions of its ad.
26

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 1   30.2020.mp4?dl=0 . Thus, any statement by Defendants that they have no knowledge of viewers
 2   or revenue from the State of Washington is simply not true and misleading. Additionally, below
 3   is a screenshot I obtained from said video:
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 1   Below is an additional screenshot I obtained from the Live Chat of another video on Defendants’
 2   YouTube Channel dated September 5, 2020 named “Dereck Diller Calls Jim Bob evil, Trisha
 3   drags Peter Monn, Jaclyn Glenn vs Eugenia, Tana’s Apology” showing viewers stating that they
 4   are viewing the video from Seattle, which is in the State of Washington:
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 1   Below is an additional screenshot I obtained from the Live Chat of another video on Defendants’
 2   YouTube Channel dated August 23, 2020 named “Jeffree Star’s Matte Palette Flops, Increased
 3   Pricing, Outrageous Shipping & Other Makeup Tea” showing viewers stating that they are
 4   viewing the video from Seattle, which is in the State of Washington:
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 1             10.   YouTube channels with live streams, such as “Without a Crystal Ball,” can also
 2   gain revenue through “Super Chats.” A Super Chat is an interaction with a viewer wherein the
 3   viewer pays a sum of money (i.e. $2, $5, $10, $25) during the live stream. This sum is often
 4   viewable to the public watching the livestream, as their comment is highlighted and parked as a
 5   top comment for a period of time, based off of the size of the donation.
 6             11.   Defendants have made a practice of stirring up salacious drama with the sole
 7   purpose of driving clicks and follows. The more dramatic, the more interesting, the more people
 8   subscribe. The more people that subscribe and the more salacious the content, the more people
 9   watch and the more revenue is earned. I have observed that Defendants “go live,” sometimes
10   several times in a single day. Just recently, Defendants live streamed seven videos in a single
11   day, some of which were over an hour. It is my opinion that the purpose of those live stream
12   videos is in part to get people to become members of Defendants’ community, and in part make
13   more money through her lucrative Super Chat donations so viewers can “get in on the action” of
14   the gossip. I have personally seen a person I know to be Katie Joy Paulson state in a video
15   uploaded to Defendants’ YouTube Channel on November 25, 2020 named: “Update on the
16   Lawsuit / Responding to Criticism / How to Give Back,” which I had downloaded before
17   Defendants either deleted and/or privated said video, that: “Not everything we say as content
18   creators is true.” A true and correct copy of said video without Live Chat or Comments that I had
19   downloaded from Defendants’ Without a Crystal Ball YouTube channel is in a Dropbox for the
20   Court’s         convenience       and        it       can       be         viewed          at      :
21   https://www.dropbox.com/s/44lhxmr97kelbx7/Update%20on%20the%20Lawsuit%3ARespondin
22   g%20to%20Criticism%3AHow%20to%20Give%20Back%2011.25.2020.mp4?dl=0                          and   the
23   statement I quoted can be found at around the timestamp mark of 29:32. I have also personally
24   seen a person I know to be Katie Joy Paulson state in a video uploaded to Defendants’ YouTube
25   channel on December 18, 2020 named: “Things Have Truly Gone Too Far,” which I had
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 1   downloaded before Defendants either deleted and/or privated said video, that “There is a lot of
 2   stuff that’s been put out by me that’s just flat out lies, and it’s for views.” A true and correct copy
 3   of said video without Live Chat or Comments that I had downloaded from Defendants’ Without
 4   a Crystal Ball YouTube channel is in a Dropbox for the Court’s convenience and it can be
 5   viewed                                               at                                               :
 6   https://www.dropbox.com/s/o1hp3cmy0q3594m/Things%20Have%20Truly%20Gone%20Too%
 7   20Far%2012.18.2020.mp4?dl=0 and the timestamp of said statement in said video starts at
 8   approximately 26:00.
 9            12.   Once the livestream is finished, YouTube provides the option to either delete or
10   keep the livestream on Defendants’ channel, where it earns Adsense revenue from the ads in
11   perpetuity or until Defendants delete the video. Depending on the YouTube algorithm and the
12   number of ads Defendants have in place, they can earn a CPM of anywhere from $3-$8 per 1,000
13   views. If Defendants save a livestream to their channels, in addition to the Superchat, Defendants
14   earn revenue based on Adsense. It is like an annuity that keeps on paying. It is basically a
15   production pipeline of drama to milk as much money as possible from the system.
16            13.   Based on my experience running a YouTube channel, I believe that the reason
17   Defendants “go live” so much is that is their biggest source of revenue. For instance, if
18   Defendants have 2,000 people giving an average of $5 per month in Super Chat, that is $10,000
19   per month. And if they receive $200 in Super Chats per video, that would amount to another
20   $15,000 per month.
21            14.   A YouTube channel’s long-term profit motive is to become as big and popular as
22   possible, because as it grows, all of the above-referenced items scale and the channel eventually
23   becomes large enough for corporate sponsorships, which can be very lucrative per individual
24   video. Channels grow by viewership. Big views trigger the YouTube algorithm to promote
25   videos more, which trigger more growth, which give more views, which earn more revenue.
26

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 1   Channels get paid based on accumulated hours of “watch time” is the sauce that drives the
 2   engine of the YouTube algorithm. And drama sells.
 3          15.     Since May 2019, Defendants have published approximately 80+ videos maligning
 4   me, my wife, and our business, Halo Beauty Partners, LLC. Defendants have also maligned me,
 5   my wife, and our business in well over 100 internet postings on Twitter, in articles on a website
 6   called Patheos.com and on various other social media platforms.2 As described below, some of
 7   these videos have been removed from Defendants’ social media platforms by deletion. Others
 8   have been set to “private,” which means that they can be reset to public at any time of
 9   Defendants’ choosing in the future. When a video is set to private, nobody can see it except for
10   the owner and the admins of the channel. Sometimes Defendants re-upload videos that have been
11   removed or made private, so the videos listed below are a list of Defendants’ videos maligning
12   me, my wife, and/or my businesses of which I am aware as of the date of this declaration. The
13   contents of numerous videos, as well as of the names some of the videos, have been altered since
14   they have been originally uploaded to the internet. Nevertheless, below is said list of videos from
15   Defendants’ various social media platforms:
16                 a.      “The Truth About the Vitamins Surrounding Tati & James Charles,”
17                         uploaded on or about May 11, 2019;
18                 b.      “Tati’s Story is Falling Apart,” uploaded on or about May 13, 2019;
19                 c.      “Seattle Waiter Speaks Out About James Charles” uploaded on or about
20                         May 13, 2019;
21                 d.      “Live Sub Count James Charles,” uploaded on or about May 14, 2019;
22                 e.      “James Charles No Longer Canceled,” uploaded on or about May 16,
23                         2019;
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25    Some of these postings have been deleted, so I am unable to testify as to the exact number with
     precision.
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 1                f.       “Jeffree Star Rolls the Bus Over James Charles,” uploaded on or about
 2                         May 18, 2019;3
 3                g.       “Jeffree Star Apologizes,” uploaded on or about May 19, 2019;
 4                h.       “James Charles Moves On,” uploaded on or about May 19, 2019;
 5                i.       “Tati Westbrook Roasted on Twitter,” uploaded on or about May 20,
 6                         2019;4
 7                j.       “Ask Katie Joy Anything,” uploaded on or about May 23, 2019;
 8                k.       “James Charles Cancels ‘Sister’ Tour,” uploaded on or about May 24,
 9                         2019;
10                l.       “The Truth about Tati Westbrook,” uploaded on or about May 25, 2019;5
11                m.       “Sephora Arrived at My house! And I'll answer questions too,” uploaded
12                         on or about May 31, 2019;
13                n.       “Tati's Business Reveals Why She Called out James Charles,” uploaded
14                         on or about June 1, 2019;
15                o.       “The Past James & Tati Westbrook Don't want you to Know,” uploaded
16                         on or about June 2, 2019;
17                p.       “My Response to the Tea Channels,” uploaded on or about June 3, 2019;
18                q.       “Tati’s Vitamin Trouble, DC Group Chats & Other Beauty News,”
19                         uploaded on or about June 5, 2019;
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       At approximately 17 minutes into the video, Ms. Paulson stated that my wife is just a “failed
22   actress” from Washington. A true and correct copy of said video without Live Chat or Comments
     that I had downloaded from Defendants’ Without a Crystal Ball YouTube channel is in a
23
     Dropbox      for   the    Court’s    convenience     and    it   can    be    viewed    at    :
24   https://www.dropbox.com/s/81qqxyot9c68g0x/Jeffree%20Star%20apologizes.mp4?dl=0
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       This video appears to have been “privated.”
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       This video appears to have been “privated.”

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 1                   r.      “Halo Beauty Struggling to Fill Orders,” uploaded on or about June 6,
 2                           2019;
 3                   s.      “Tati Releases New Vitamins with Concerning Ingredients,” uploaded on
 4                           or about June 14, 2019;
 5                   t.      “Can We Talk About Tati Lying for 18 minutes,” uploaded on or about
 6                           June 15, 2019;
 7                   u.      “Beauty Influencer Sends My Boss A Letter,” uploaded on or about June
 8                           16, 2019;6
 9                   v.      “Seattle Waiter Changes His Mind,” uploaded on or about June 17, 2019;
10                   w.      “Proof Tati's Vitamin Sales Not from Shane Dawson,” uploaded on or
11                           about June 18, 2019;
12                   x.      “James Charles is Back, Copyright, & Lost Diamonds” uploaded on or
13                           about June 19, 2019;
14                   y.      “Are Tea Channels on Jeffree’s payroll,” uploaded on or about June 20,
15                           2019;
16                   z.      “Marlena Stell Discusses Influencers,” uploaded on or about June 25,
17                           2019;
18                   aa.     “How My Dreams Became a Reality,” uploaded on or about July 6, 2019;
19                   bb.     “I Need Your Help With My Hair,” uploaded on or about July 12, 2019;
20                   cc.     “Should We Care about Beauty Gurus After Dramageddon 2019?”
21                           uploaded on or about July 14, 2019;
22                   dd.     “Reacting to Your Assumptions About Me!” uploaded on or about
23                           September 3, 2019;
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     6
         This video appears to have been “privated.”
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 1               ee.       “Tati’s Makeup, Cory Wharton Stepping Out on Taylor & Austin
 2                         McBroom Lawyers Up,” uploaded on or about October 16, 2019;
 3               ff.       “James Charles Shares What Happens When Rumors Go Viral,” uploaded
 4                         on or about November 29, 2019;
 5               gg.       “Tati Westbrook's Channel is Tanking & She's Blaming YouTube,”
 6                         uploaded on or about March 2, 2020;
 7               hh.       “Trisha Paytas The Most ‘Unproblematic’ Person Ever Claps Back at Tati
 8                         Westbrook over Shane Dawson” uploaded on or about June 1, 2020;
 9               ii.       “Jeffree Star Caught Lying about Owning Morphe & Merch Company
10                         After Tati Westbrook Called Him Out” uploaded on or about June 1,
11                         2020;
12               jj.       “Jeffree Star & Shane Dawson's Friends are Fed Up & Spilling Details
13                         Behind James Charles’ Takedown,” uploaded on or about June 12, 2020;
14               kk.       “Jeffree Star Trying to Scrub Criticism About Him off YouTube & Voice
15                         Memos Show His True Personality,” uploaded on or about June 19, 2020;
16               ll.       “Shane Dawson's Not So Beautiful Scam of the Beauty Community - Will
17                         Tati Westbrook Expose Them All?” uploaded on or about June 21, 2020;
18               mm.       “Jeffree Star Allegedly Used Tati Westbrook as a Pawn - Will She Reveal
19                         the Truth? uploaded on or about June 23, 2020;
20               nn.       “Blaire White Reveals the Dirt Jeffree Star is Extorting James Charles into
21                         Silence,” uploaded on or about June 28, 2020;
22               oo.       “YouTube’s Biggest creators are in trouble,” uploaded on or about June
23                         28, 2020;
24               pp.       “Tati Westbrook Unloads Karma on Jeffree Star & Shane Dawson –
25                         Shane Dawson’s Career is Over,” uploaded on or about June 30, 2020;
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 1                    qq.      “Shane Dawson Reaction to Tati Westbrook Proves He Knows His Time
 2                             on YouTube is Up,” uploaded on or about June 30, 2020;
 3                    rr.      “My Experience With Tati Westbrook,” uploaded on or about July 1,
 4                             2020;
 5                    ss.      “Tati Westbrook's Belief that Jeffree Star Owns Morphe Falls Flat After
 6                             Company Denies All Claims,” uploaded on or about July 1, 2020;
 7                    tt.      “Why I Can't Stay Silent About Tati Westbrook Anymore With Receipts,”
 8                             uploaded on or about July 2, 2020;
 9                    uu.      “All the YouTubers That Need to Stop Lying – I’ll Probably Delete this
10                             later,” uploaded on or about July 3, 2020;7
11                    vv.      “Jeffree Star's Indifference to Tati Westbrook Could Be Due to Potential
12                             Lawsuit & Business Troubles” uploaded on or about July 8, 2020;
13                    ww.      “Tati's Social Blade, Chrissy Tiegen, Philip DeFranco & Other Random
14                             Tea,” uploaded on or about July 16, 2020;
15                    xx.      “Jeffree Star's Apology to James Charles is Just Another Infomercial to
16                             Sell his Makeup,” uploaded on or about July 19, 2020;
17                    yy.      “TikTokers Lose Power for Parties/Tati Westbrook Ghosts Halo/Dani
18                             Cohn’s Age Slip/Kail’s baby drama,” uploaded on or about August 20,
19                             2020;
20                    zz.      “6 Huge YouTubers Recently Dipped Out & May Never Come Back,”
21                             uploaded on or about August 27, 2020;
22                    aaa.     “The Tea is so piping! Here are some blind items,” uploaded on or about
23                             August 29, 2020;
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     7
         It appears that this video is no longer available on the internet.
26

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 1                 bbb.    “Tati Westbrook Lists Her Los Angeles Compound She Just Bought - Is
 2                         She Leaving YouTube for Good?” uploaded on or about September 22,
 3                         2020;
 4                 ccc.    “James Charles Instructed Me to Remove All Videos about Tati
 5                         Westbrook So they Could End Jeffree Star,” uploaded on or about October
 6                         14, 2020;
 7                 ddd.    “Clearing a Few Things Up About the Tati-James Charles Situation - Why
 8                         I spoke out,” uploaded on or about October 14, 2020;
 9                 eee.     “Why I spoke Out Now about the James Charles/Tati Westbrook
10                         Situation,” uploaded on or about October 14, 2020;
11                 fff.    “Friday Night_ Jill Duggar Can't Stop Talking, Jessa Duggar Responds,
12                         All These Duggar Businesses,” uploaded on or about October 23, 2020;
13                 ggg.    “I Was Right About Everything – A Huge Story Coming on Tati
14                         Westbrook,” uploaded on or about October 28, 2020;8
15                 hhh.    “Tati Westbrook Sued for Defrauding Millions from Biz Partner &
16                         Motivation for ‘Bye Sister’ Exposed,” uploaded on or about October 28,
17                         2020;
18                 iii.    “Tati Westbrook's Legal Issues - Going Over the Full Complaint,”
19                         uploaded on or about October 28, 20209;
20   8
       This video appears to have been deleted. However, I have reviewed this video, which was
21   uploaded to YouTube two days before the filing of this lawsuit. At approximately 28 minutes
     into the video, Ms. Paulson stated that my wife and I were never going to sue her, and if we were
22   going to do sue her, we would have done so already. A true and correct copy of said video
     without Live Chat or Comments that I had downloaded from Defendants’ Without a Crystal Ball
23
     YouTube channel is in a Dropbox for the Court’s convenience and it can be viewed at :
24   https://www.dropbox.com/s/yxa6wj460gkgeuw/I%20was%20right%20about%20everything%20
     -%20A%20Huge%20Story%20Coming%20on%20Tati%20Westbrook.mp4?dl=0
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     WESTBROOK -15                                                   Seattle, WA 98104
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 1                 jjj.    “Tati Westbrook's Old Videos Were Setting Us Up for Bye Sister & What
 2                         She Said about Jeffree Star,” uploaded on or about October 29, 2020;
 3                 kkk.    “Why Tati Westbrook is the Mastermind behind James Charles Takedown
 4                         & Why she Blamed Jeffree & Shane,” uploaded on or about October 29,
 5                         2020;
 6                 lll.    “Spilling the tea - Gabriel Zamora Slides into my DMs about Tati - the
 7                         Truth about Tati's June Video,” uploaded on or about October 30, 2020;10
 8                 mmm. “Happy Halloween members! (Members Only YT Live)11,” uploaded on
 9                         or about October 31, 2020;
10                 nnn.    “It's True about The Westbrooks & I will Be Ok,” uploaded on or about
11                         October 31, 2020;12
12                 ooo.    “This Channel will Keep Going,” uploaded on or about October 31,
13                         2020;13
14                 ppp.    “Sunday Night! Checking in,” uploaded on or about November 1, 2020;14
15                 qqq.    “I’m So Nervous - About that Clip of Me Going Around,” uploaded on or
16                         about November 3, 2020;15
17   9
       This video appears to have been deleted. This video was also uploaded to YouTube two days
18   before the filing of this lawsuit. At approximately 65 minutes into the video, Ms. Paulson stated
     that my wife and I were never going to sue her, as we already sent her four cease and desist
19   letters, and she was reporting on public documents. She further indicated in that video that my
     wife and I “love to intimidate with nothing to back it.” A true and correct copy of said video
20
     without Live Chat or Comments that I had downloaded from Defendants’ Without a Crystal Ball
21   YouTube channel is in a Dropbox for the Court’s convenience and it can be viewed at :
     https://www.dropbox.com/s/84qbuwpzt0xxvag/Tati%20Westbrook%27s%20Legal%20Issues-
22   %20Going%20Over%20the%20Full%20Complaint.mp4?dl=0
     10
        This video appears to have been deleted.
23   11
        This is a “members’ only” private video.
     12
        This video appears to have been “privated.”
24   13
        This video appears to have been “privated.”
25
     14
        This video appears to have been “privated.”
     15
        This video appears to have been “privated.”
26

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 1                 rrr.    “Deleting this later - Can’t Wait to Destroy More Evidence,” uploaded on
 2                         or about November 7, 2020;16
 3                 sss.    “Saturday Afternoon - An Important Update,” uploaded on or about
 4                         November 7, 2020;17
 5                 ttt.    “Saturday night!!” uploaded on or about November 7, 2020;18
 6                 uuu.    “Sunday night!” uploaded on or about November 8, 2020;19
 7                 vvv.    “My story, My statement, & My mistakes,” uploaded on or about
 8                         November 9, 2020;
 9                 www. “I’m Sorry, Taking Accountability,” uploaded on or about November 12,
10                         2020;20
11                 xxx.    “Update on the Lawsuit / Responding to Criticism / How to Give Back,”
12                         uploaded on or about November 25, 2020;21
13                 yyy.    “No One Can Get Cancelled,” uploaded on or about November 25, 2020;
14                 zzz.    “Am I Ok?” uploaded on or about November 29, 2020;22
15                 aaaa.   “Will I Lose Everything?” uploaded on or about December 2, 2020;23
16                 bbbb.   “Big Changes to the Channel,” uploaded on or about December 7, 2020;
17                         and,
18                 cccc.   “I Forgot to Share Something With You,” uploaded on or about December
19                         7, 2020.24
20

21
     16
        This video appears to have been “privated.”
     17
        This video appears to have been “privated.”
22   18
        This video appears to have been “privated.”
     19
        This video appears to have been “privated.”
23   20
        This video appears to have been deleted.
     21
        This video appears to have been “privated.”
24   22
        This video appears to have been “privated.”
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     23
        This video appears to have been “privated.”
     24
        This video appears to have been “privated.”
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 1             16.    In a video entitled, “Sephora Arrived at My House! And I’ll Answer Questions
 2   Too!” uploaded to YouTube on or about May 31, 2019, a person I know to be Katie Joy Paulson
 3   states, starting at approximately 6 minutes into the video that Defendants started “digging” into
 4   my wife’s family’s “background… and looking all over the place… everywhere, everywhere.”
 5   Defendants go on to state, starting at approximately 9 minutes, into the video that they used
 6   “several different searches” because a site called “truthfinder” is a “very basic background
 7   check… [and] doesn’t have everything.” Defendants indicate in this video that you can go “state
 8   to state” to “pull to pull stuff up as well,” which is what they say they did to get personal
 9   information regarding me, my wife, and our families. A true and correct copy of said video
10   without Live Chat or Comments that I had downloaded from Defendants’ Without a Crystal Ball
11   YouTube channel is in a Dropbox for the Court’s convenience and it can be viewed at :
12   https://www.dropbox.com/s/3ibfujo8j2b7ea5/Sephora%20Arrived%20at%20My%20house%21
13   %20And%20I%27ll%20answer%20questions%20too%20%28incl.%20Tati%29.mp4?dl=0
14             17.    In a video entitled, “Tati Westbrook’s Legal Issues – Going Over the Full
15   Complaint” uploaded to YouTube on or about October 28, 2020, 25 at around six minutes into the
16   video, a person that I know to be Katie Joy Paulson states that my wife and I moved to
17   Washington for tax purposes. She then goes on, at around 10 minutes into the video to discuss
18   the complaint that was filed by my business partner, Clark Swanson, in Los Angeles Superior
19   Court, on or about October 20, 2020, in which it is falsely stated that my wife and I are residents
20   of the State of California. The Swanson Complaint, which is entitled Swanson, et al., v. Halo
21   Beauty, Inc., et. al., Los Angeles Superior Court Case No. 20SMCV0173, contains numerous
22   false statements, despite being a verified complaint made under penalty of perjury. I had
23   downloaded a true and correct copy of this video from Defendants’ Without A Crystal Ball
24

25   25
          This video is currently not available on YouTube, and appears to have been deleted.
26

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 1   YouTube channel, and have placed it in a Dropbox folder for this Court’s convenience, and said
 2   video may be viewed at:
 3   https://www.dropbox.com/s/h9dsk6l4gym0qdv/Tati%20Westbrook%27s%20Legal%20Issues-
 4   %20Going%20Over%20the%20Full%20Complaint.mp4?dl=0
 5             18. One of the false statements contained in the Swanson complaint is that my wife
 6   and I are California residents. Clark Swanson knew that my wife and I lived in Washington well
 7   before the Swanson complaint was filed in October 2020. As an officer of Halo Beauty Partners,
 8   LLC, Mr. Swanson filed corporate documents listing the Washington residence address of me
 9   and my wife on the documents. In a video currently entitled, “The Past James & Tati Westbrook
10   Don’t want you to Know” uploaded to YouTube on or about June 2, 2019, a person I know to be
11   Katie Joy Paulson showed said public corporate document filed by Swanson confirming that my
12   residence at the time was in the State of Washington. A true and correct copy of said video
13   without Live Chat or Comments that I had downloaded from Defendants’ Without a Crystal Ball
14   YouTube channel is in a Dropbox for the Court’s convenience and it can be viewed at:
15   https://www.dropbox.com/s/l4aqw30f1z4xyz4/The%20Past%20James%20%26%20Tati%20Wes
16   tbrook%20Don%27t%20want%20you%20to%20Know.mp4?dl=0 .
17   Below is a screenshot from approximately 48 minutes into the June 2, 2019 video wherein the
18   person I know to be Katie Joy Paulson displayed a physically redacted screenshot of said
19   corporate document filed by Swanson with the Nevada Secretary of State bearing the residence
20   address of my myself and my wife in the State of Washington:
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19          19.     At approximately 55 minutes into “The Past James & Tati Westbrook Don’t want
20   you to Know” video, a person that I know to be Katie Joy Paulson also states that “[they] don’t
21   want to put [my and Tati’s] addresses out; [they] don’t want to show you like where [we] live…”
22   At approximately 56 minutes into the video, Defendants thank their viewers “for sticking with
23   [them] in [their] two-part exposé and if [they] uncover more information… they will deliver it
24   [to the viewers].” In addition, I have personally reviewed a video entitled, “Tati Westbrook Lists
25   Her Los Angeles Compound She Just Bought - Is She Leaving YouTube for Good?” uploaded to
26

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 1   YouTube on or about September 22, 2020, wherein a person I know to be Katie Joy Paulson
 2   states at the beginning of the video that my wife and I moved back to Seattle “actually a while
 3   ago” before the September 2020 video. Defendants also state in the video, at around four minutes
 4   in, that my wife and I just purchased the Los Angeles home, and now we are “leaving.” In
 5   actuality, the purchase was an investment opportunity from an option to buy from 2016. During
 6   the time that my wife and I owned the Los Angeles house referenced in this September 2020
 7   video, we no longer lived in Los Angeles, nor did we even spend a single night in said house. So,
 8   we are unclear what Defendants mean when they indicate that we are “leaving.” A true and
 9   correct copy of said video without Live Chat or Comments that I had downloaded from
10   Defendants’ Without a Crystal Ball YouTube channel is in a Dropbox for the Court’s
11   convenience and it can be viewed at:
12   https://www.dropbox.com/s/q9zunceznfd9k5k/Tati%20Westbrook%20Lists%20Her%20Los%20
13   Angeles%20Compound%20She%20Just%20Bought%20-
14   %20Is%20She%20Leaving%20YouTube%20for%20Good%3F.mp4?dl=0
15          20.    I have reviewed Ms. Paulson’s declaration submitted in conjunction with
16   Defendants’ Motion to Dismiss. Upon review, based on my general knowledge regarding the
17   business of social media, and my specific review of Ms. Paulson’s videos, Ms. Paulson’s
18   declaration appears to contain several untrue statements. One of the statements that I believe to
19   be untrue is that Defendants have no employees. I personally recall viewing a video wherein Ms.
20   Paulson stated that her husband was an employee of Defendants, and another video wherein her
21   moderator “Jessie Bear” stated that she had the “best employer ever.” A screenshot I had
22   obtained from the video containing the statement from Jessie Bear from Defendants’ YouTube
23   Channel is below:
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            21.    I have personally witnessed Defendants asking their twitter followers, subscribers,
18
     and viewers – some of whom they knew are located in Washington – to donate money for the
19
     cost of the research and obtaining the records to “expose” me and my wife. Below is a screenshot
20
     I obtained from Twitter of a tweet from an account I know to have belonged to Defendants, until
21
     Defendants irreversibly deleted said account from Twitter shortly after being notified of this
22
     lawsuit, wherein a request was made for donations to Defendants to pay for claimed expenses
23
     incurred in Defendants’ research of me and my wife and our families.
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            22.     I have personally witnessed Defendants allowing a tweet to be posted on a Twitter
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     account that I know to belong to Defendants stating that Defendants were intentionally biased in
19
     their coverage of stories regarding me and my wife because of their intense dislike for us and
20
     belief that we do not belong in any community. Below is a screenshot I obtained from Twitter of
21
     a tweet from an account I know to belong to Defendants wherein Defendants caused said
22
     statements to be visible on their Twitter page and visible to the general public.
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            I declare under penalty of perjury under the laws of the United States of America that the
19
     foregoing is true and correct.
20

21
            SIGNED on December 23, 2020.
22

23
                                                        James Westbrook
24

25
26

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     DECLARATION OF JAMES                                       1000 2nd Avenue, Suite 3100
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                      EXHIBIT “1”
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                                                  IZl New Lease               0 Renewal

1.   PARTIES.         The parties to the Residential Agreement are:
     a.                                                                 Landlord
                 Owner:
                 Address:
                 Telephone:


                 Name:
                 Address:
                 Email:
                                                                       Tenant(s)
                 Name: James A. Westbrook
                 Address:
                 Telephone:                                                 Email:
                 Name: Tanya A. Westbrook
                 Address:
                 Telephone:




     b. Pet(s):




     c. Liability of Tenants.      All persons who sign this Lease Agreement as Tenants shall be jointly and severally liable
        under the terms of this Lease Agreement. The term "Tenant" as used in this Lease Agreement, shall refer to all
        Tenants identified in the previous subsection.
     d. Substitution of Tenants.        This tenancy is restricted to the above named Tenants and the above named Other
        Occupants. Any guest who occupies the premises for more than 14 consecutive days or nights or more than 20 days
        or nights, consecutive or not, in any 12 month period, shall be considered an unauthorized occupant until such time
        as they apply, are screened and approved, and sign a Lease. Receipt of mail at the Premises by any person not listed
        on this agreement shall be deemed proof of occupancy by that person. Prior written consent of Landlord is required to
        substitute or increase Tenants or occupants. Additional or substitute Tenants will be required to pass credit and
        criminal checks and shall become additional signatories to this Lease Agreement. Short term rental to any other party
        not named in this lease, such as Airbnb guests, is strictly prohibited.
     e. Agent acting for Landlord.            Whenever this Agreement calls for consent by or notice to or from Landlord, Agent
        may give such consent or may give or receive such notice to the extent the same is authorized by agreement
        between Landlord and Agent. Provided, nothing in this Agreement shall be construed as to give Agent any greater
        liability or responsibility than is provided by the agreement between the Landlord and Agent.

2.    PROPERTY.           Landlord rents or leases the following Premises to Tenant:




til       Revised 08/23/2016
                                                                  1 of 18            Initials: Agent
                                                                                                                  :zw_
                                                                                                           Tenant_,.,.._._ _
                                 Bellevue, WA -

                                                                                                       -
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                     Address:


                     City:                                               State:
                     Bellevue                                            WA



         The Premises may be a portion of an apartment complex or other larger parcel of land and , if so, the larger parcel is
         referred to herein as the Property. A description of the condition of the Premises will be attached as Addendum 8 and is
         incorporated herein by reference . The parties have signed the description of the Premises at the time that the Tenant
         takes possession .

    3.   TERM.        The term of this Agreement shall be (check one):
         a. 0 a month-to-month tenancy beginning - - - - -- - - ; OR
         b. ~a Lease for a term of 18 months. beginning December 1. 2018 and ending Mav 31. 2020 . If Lease is for a term
               greater than one year, the lease must have Landlord or Agent acting on behalf of Landlords signature notarized and a
               legal description (per county tax records) of the Property attached. Unless a lease renewal has been approved and
               signed, upon expiration of the above-stated initial term of Lease, all Tenant's rights to occupy the premises shall
               cease without right to extend the term hereof by operation of law without further notice required by either party.
               Unless otherwise agreed to in writing by all parties, this Agreement shall not revert to a month-to-month tenancy
               following expiration of the term, and the Tenant shall immediately be responsible for holdover rent in the amount of
               150% of the monthly rent under the Lease.
         If, for any reason , the Landlord is unable to deliver possession of the Property as of the commencement date of the
         lease, the rent shall abate during those days that possession cannot be given . If the delay in possession continues for a
         period of three (3) business days from the date of commencement, the Tenant shall have the right to terminate this
         agreement by written notice to the Landlord. If this agreement is so terminated, all moneys paid by the Tenant to the
         Landlord for rent and deposits shall be refunded to the tenant within the current timeframe established by Washington
         state Landlord Tenant Law following the written notice. Return of the funds shall be the only liability that Landlord shall
         have, and shall not be liable for any other damages, including but not limited to, consequential damages, attorney fees ,
         storage costs, temporary housing costs or moving expenses.
         c.    Early Possession.            In the event that the Tenant takes early occupancy before the date as specified in Section
               3.a/3.b., all terms and conditions of the Residential Lease Agreement, other than rent owing for the early occupancy,
               shall become effective at the time of said occupancy . Any early occupancy shall not change the term of the Lease,
               and in no instance shall the term of the Lease be construed by either party to be extended to beyond :18
Jh! . m .      1Jll)r!l'1:S. Tenant to take occupancy beginning DQcember 1, 2018 (This paragraph not applicable for lease renewals.)
         d. Delayed Possession.           In the event that Tenant does not take occupancy until after the lease commencement date,
               Tenant understands it is their obligation to comply with all Terms and Rules incorporated within this Lease
               Agreement. This includes, but is not limited to, utility payments, landscape maintenance & irrigation, heating and
               proper ventilation of property, etc. All utility payments begin from date of lease commencement.

    4.   RENT.
         a.    Amount.     The monthly rental shall be -             per month from 12/1/2018 to 5/31/2020, due and payable in full in
               advance without setoff or invoice on the first day of each month, commencing on December 1. 2018. There shall be




              -
               no grace period for the payment of rent. The rental for any partial monthly period shall be pro-rated in accordance
               with the number of days in the applicable month. The total payment due for the term of this Rental Agreement will be

           b. Payment.          Rent shall be payable to Landlord at the following address:




         c. Late Charge.       If any rent is not paid on or before the due date thereof, Tenant agrees to pay a penalty equal to 1%
               of monthly rental for each day that the same is delinquent (Late Charge shall not exceed 18% of monthly rent


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                                      Bellevue WA                   2 of 18           Initials:          Tenant_
                                                                                                              ' '--
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            amount). Late charges shall be considered additional rent. Any amount paid after the issuance of a pay or vacate
            notice or a 10 day comply or vacate notice for non-rent monetary amounts, shall be paid by money order,
            certified check or cashier's check. In the event of default

                                      all future rent owing under the lease shall be immediately accelerated and shall be
            due and owing as of the date of the default. Tenant understands that if Tenant is given a notice to pay or
            comply or vacate and chooses to vacate the unit during the period of the notice, that the Tenant shall remain liable for
            the rent and all other charges owing under the Lease (including but not limited to any Charges listed in
            paragraph 12b of this Lease), through the end of the Lease term or the next month in the case of a month-to-
            month tenancy. If tenant carries a balance owed on their account, late fees will continue to accrue as
            described above each month until account balance is paid in full.
     d. Returned Checks/Payments.          If any rent check or direct debit payment is returned to Landlord by bank for any
        reason, Landlord may, at his/her option, require that all future rent payments be made by money order, cashier's
        check or certified check.                   or                                                   Any check or direct
        debit payment that fails to clear the bank shall be treated as unpaid rent and shall be subject to the above Late
        Charge, plus a $50.00 returned payment fee. Landlord shall have no obligation to re-deposit any item returned by
        bank. In addition to the foregoing penalties, Landlord may elect to terminate this Lease for nonpayment of rent.
      e. Rent Increases.       If this Lease Agreement creates or results in a month-to-month tenancy, then Landlord may
         increase the rental upon thirty (30) days written notice to Tenant, except that if the Premises is within the Seattle city
         limits, any housing cost increase equal to or exceeding 10% annually shall require sixty (60) days written notice to
         tenant.
      f.    Other Terms.
            1) The Lease of the Premises includes parking spaces -                              and storage unit -
            2) Tenants are to provide proof of renters insurance and maintain for the entire term of the lease. The HOA
               requires the Renter Insurance Policy to be (H0-4). See HOA rules and regulations about specifics of
               policy required.
            3) Landlord will have the right to enter onto the premises as reasonably necessary on two days prior notice
               to Tenants. In the event of an emergency, Landlord shall have the right to enter without prior notice.
            4) Tenant to review and comply with HOA I building rules. Tenant agrees to respect other unit owners'
               privacy, security, and quiet use and enjoyment of the Condominium Complex; in the event of repeated
               complaints by the HOA or neighbors regarding excessive noise, guests, or other disturbance, or
               noncompliance with the HOA Documents, Landlord may terminate the Lease upon 30 days' written notice.
            5) Landlord recognizes the Tenants are self-employed and work from home. Tenants will be permitted to
               attend to all of their business matters within the confines of the premises which may include all forms of
               communication such as email, telephone calls, skype, and all forms of social media.
            6) See page 24 for the continuation of Other Terms.

5.    UTILITIES.
      a. Payment.    Tenant agrees to establish use of, maintain, and pay without delinquency the following utilities used in or
         charged to the Premises during the full term of this Agreement (regardless of when Tenant actually vacates the
         Premises):

                                                              Utilities Payable By Tenant (marked with 'X')
                  E~ctricity:   I   Gas:        I    Water:   I   Sewer:      I   Garbage:   I 0~/A          I C~ble   (Optional):   I   ;one (Optional):


            Failure of the Tenant to timely pay the utilities in full as billed shall be a material breach of the lease Agreement.




6. FUNDS RECEIVED.
     a. Rents and Deposits.     Landlord acknowledges receipt of rents, deposits and non-refundable fees in the amount of
        • • • • t :omprising the following amounts:
           With respect to non-refundable fees, those fees shall not be returned to the Tenant at the end of the tenancy, nor shall
           they be applied as a credit against any monies owing by the Tenant at the end of the tenancy.

                                                                       Funds Received By Landlord
                                                                      Date Due                         Date Received                 Check#


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                                                                              g




    b. Application of Prepaid Rents and Deposits.          Landlord may apply the prepaid rent described above towards any
       default in the payment of rent, late or NSF charges or lease break fee. The security/damage deposit may be applied to
       secure the terms of this Lease Agreement, including, but not limited to unpaid rent and utilities fines, and to repair any
       physical damages to the premises or property caused by Tenant, a family member, invitee, licensee, or any person
       acting under Tenant's control , beyond normal wear and tear. In the event that the security deposit is applied as a
       remedy during the term of the lease the tenant shall have 10 days to replenish the security deposit account.
    c. Condition of Premises at End of Tenancy.           Tenant shall restore the premises, including all landscaped areas, to
       their original condition at the beginning of the tenancy, except for normal wear and tear. Tenant acknowledges and
       agrees that soil and any cleaning, or repair or replacement due to smoke damage or odors (including, but not limited
       to ; food odors, pet odor, and cigarette, candle, incense or another source of smoke) is considered damage and not
       normal wear and tear.
    d. Reimbursement of Landlord I Lease Break.                Tenant shall reimburse Landlord for any damages or loss, including
       but not limited to rent, leasing fees , advertising , or any other costs incurred by Landlord because of Tenant's failure to
       comply with a material term or condition of this Lease Agreement or a material obligation under the Residential
       Landlord-Tenant Act. If Tenant breaks this Lease agreement, Tenant shall be subject to penalties including, but not
       limited to, Lease Break Fee equal to one month's rent, all future rent due through the end of the Lease term and all
       utility costs incurred at the Property through end of Lease term or until a new Lease is executed and new Tenant takes
       occupancy (whichever comes first). Tenant shall still owe all unpaid rent and fees prior to Lease Break if applicable.
    e. Custodian of Deposits.         The deposit shall be at the following depository: • • • • • • • • • • • •
    f.   Statement Upon Withholding of Refund.            Within the current timeframe established by Washington state Landlord
         Tenant Law after (a) the termination of this Lease and vacation of the Premises by Tenant, or (b) the date Landlord
         learns that Tenant has abandoned the Premises, Landlord shall either return Tenant's deposits or else give Tenant a
         full and specific written statement of the basis for retaining any portion of the deposits, together with payment of any
         refund due. If the Landlord is unable to obtain actual charges for required repairs or billings, an estimate of charges will
         be sent to the Tenant. As soon as the actual charges are known , a revised statement of deposit accounting itemizing
         the factual charges will be provided. Tenant agrees that the sending of a preliminary statement of deposit accounting
         with estimated charges, and any deposit refund or balance owing anticipated , within the current timeframe required by
         law shall fully comply with RCW 59.18.280. No deductions shall be made for normal wear and tear to the premises
         resulting from ordinary use. Any such refund will be mailed to all Tenant(s) at their last known address (or such other
         single address as they provide for that purpose). In the case of multiple Tenants, the security deposit shall not be
         returned until the final Tenant on the agreement has vacated. It is Tenants' sole responsibility to allocate any refunded
         amount between themselves. If there is a Guarantor party to this Lease Agreement and there is no Roommate
         Addendum stipulating which party deposit settlements and refunds will be issued to, they shall be issued to the
         tenant(s) named on this Lease Agreement.
         IZl This property will be managed by the Landlord , not
         therefore the security deposit will be made payable to the Landlord. It will be collected at the time of move in by
         • • • • • • • • • • • • • • • • • • • • • • • • and forwarded to the Landlord for deposit. The
         Landlord will hold your security deposit in trust and will be responsible for the disposition at the conclusion of your
         tenancy.
    g. Nonrefundable Fees.     Tenant (choose one) IZl has paid orO will pay Landlord-                  as a fee for the items listed
       below, and Tenant acknowledges that this sum is nonrefundable :




7. LANDLORD'S DUTY TO REPAIR AND MAINTAIN PREMISES.
    a. Warranty of Fitness.        Landlord warrants that the premises are clean and fit for human habitation and that Landlord
       will comply with all state and local laws regarding maintenance and repair of the premises.
    b. Notice of Need for Repairs.                                            Landlord of
       notice to the following address:


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            Tenant understands and agrees that a delay in reporting damages may lead to increased damages and those
            increased damages will be at Tenant's sole expense.
      c. Pre-Occupancy Repairs by Landlord.              The following repairs shall be completed by Landlord by the dates indicated:

                                                                      Repairs By Landlord
                   Repair:                                                                                     I Completion Date:
                   None.
      d. Landlord's Insurance.      Landlord to maintain general liability insurance. Landlord assumes no responsibility for loss
         of personal property of Tenant resulting from fire, theft, exposure to elements, water damage or other cause
         whatsoever nor to carry insurance to cover Tenant's personal property. Tenant is urged to obtain Renter's Insurance
         for Tenant's personal property.
      e. Move In Condition Report.     Tenant understands that items noted on the move in inspection form do not indicate an
         agreement by the Landlord to clean, repair or replace that noted item. All maintenance requests must be in writing and
         on a separate maintenance request form or via email.
      f.    Storage of Property Specific Supplies.          Landlord reserves right to store a reasonable amount of property-specific
. :n::v:.   "finish" items                     ,;rdt.   including, but not limited to, touch up paint, carpet, tile, furnace filters, etc.,
            on the Property in the interest of cost-effective maintenance and repair. If Tenant notifies Landlord of objection to
            such storage, the full costs of replacement materials shall be Tenant's responsibility, and Tenant agrees that
            materials remaining after the finish repair shall belong solely to the Landlord.
8. TENANT'S DUTY TO MAINTAIN PREMISES.
      a. Tenant's Duty.       Tenant agrees to keep the premises as clean as the conditions of the premises permit, and to
         comply with all duties imposed on Tenants by state and local law.
      b. Tenant's Liability for Damage.      Tenant shall be liable for any damage to the premises caused by Tenant's acts or
         neglect other than normal wear and tear. Tenant shall also be liable for any damage to the premises caused by
         Tenant's family member, invitee, licensee, or any person acting under Tenant's control or with Tenant's permission.
         Any person in the property, with or without the Tenant's knowledge, including but not limited to invitees of guests or
         other invitees, shall be deemed guests for purposes of this Lease. Tenant promises to indemnify, hold harmless, and
         defend Landlord and Agent from and against any and all claims for damages to property or person arising from any
         use of or activity upon the Premises by any of the persons included in the preceding sentence. Tenant understands
         that neither Landlord nor Agent can guarantee or warrant Tenant's personal safety, which are the Tenant's own
         personal responsibility.
      c. Repairs by Tenant.         Tenant agrees to perform the following repairs indicated below by the following dates:

                                                                       Repairs By Tenant
                   Repair:                                                                                     I   Completion Date:
                   None.
            In the event that Tenant fails to perform the above-described repairs then Landlord may declare Tenant to be in default
            under this Lease Agreement, or at Landlord's sole discretion, cause such necessary repairs to be done and charge
            Tenant the cost of such repairs.
      d. Maintenance by Tenant.             Tenant agrees to perform the following routine maintenance according to the schedule
         indicated below:

                                                                    Maintenance By Tenant
                   Maintain interior and exterior in same condition as received, as noted in the Move-In Condition Report. Change
                   furnace filter one time per quarter, wrap exterior hose bibs for protection from freezing. Maintain interior
                   temperature of at least 60 degrees Fahrenheit.
            Tenant also agrees to have the carpets professionally cleaned, at Tenant's expense, upon vacating the premises and a
            receipt for said professional cleaning shall be provided to Landlord. If Tenant had pet(s) or service animal(s) in the
            home, Tenant must also have carpets professionally deodorized and provide receipt. Rental of a carpet cleaner or use
            of a personal carpet cleaner by the Tenant shall not be sufficient to meet this obligation. Tenant agrees that if interior of
            home has been professionally cleaned prior to move in, the same standard for cleanliness will be expected at move
            out. In the event that Tenant fails to perform the above-described maintenance, then Landlord may cause such
            maintenance to be done and charge Tenant the cost of such maintenance. Tenant shall maintain all smoke/carbon
            monoxide detection devices, including replacement of any batteries. Tenant shall not tamper with, remove
            batteries from, or otherwise disable


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       smoke/carbon monoxide detection devices. Tenant is responsible to replace any light bulbs that were then functional at
       Move In and burn out prior to Tenant vacating . All leaky faucets, toilets, broken windows , wet areas on walls or floors,
       or water intrusion of any kind, or other defects must be reported promptly to Landlord . Failure to report such problems
       could make the Tenant liable for additional damages.
9. ALTERATIONS.             No alterations, additions, or improvements shall be made by Tenant without the prior written consent of
   Landlord.
10. SUBLETTING OR ASSIGNMENT.              Tenant shall not assign this Lease Agreement or sublet any portion of the premises
    without the prior written consent of Landlord. Any assignments or subleases without the prior written approval of the
    Landlord shall be void and shall in no way create any tenancy with the assignees or subleases . Any addition of another
    party to this Lease at any time includes a $250 review fee and any tenant screening fees will be borne by existing Tenant.
    If all occupants leave the home it would be considered a lease break.

11 . DESTRUCTION OF PREMISES.              In the event of damage to the Property, if in the Landlord's opinion, the Premises or
     Property are so damaged as to be unfit for occupancy, the Landlord may, at Landlord's sole option, elect as follows : (a)
     Make repairs with reasonable promptness, in which case rent will abate during the time the Premises are unfit for
     occupancy but in all other respects this Agreement shall remain in full force and effect. OR (b) Declare that the damage is
     so great that the Premises is incapable of being satisfactorily repaired without unreasonable cost, in which case this
     Agreement shall terminate and Tenant shall immediately vacate and Tenant shall pay rent up to the day Tenant vacates
     the Premises. For purposes of rent abatement under (a) or rent payment under (b), rent shall be prorated to the day, in
     accordance with the number of days in the applicable month. Tenant shall presume that any decision or direction made or
     given by Agent under this paragraph is the sole decision or direction of Landlord . Nothing in this lease or rental
     agreement, including but not limited to the language of this paragraph shall obligate the Landlord to repair any damages
     caused by the Tenant or Tenant's guests or invitees, nor to relocate the Tenant during any period following such
     damages and during any repair of such damages. Landlord shall have no duty to relocate Tenant for any period of time,
     nor compensate Tenant for any costs of Tenant's voluntary relocation due to any casualty or cause from any source other
     than the intentional acts of Landlord, which renders the Premises uninhabitable or without power, water or heat. Further,
     in the event such damages are caused by the Tenant or Tenant's guests or invitees, the Tenant shall not be entitled to
     terminate this lease or rental agreement without remaining liable for rent through the term of the agreement nor shall the
     Tenant be entitled to any reduction in the rent. In the case of destruction of the rental premises, as determined solely by
     the Landlord , Landlord shall have the absolute right, even if the unit is not condemned by any governmental agency, to
     terminate this agreement after five (5) days written notice to the Tenant.

12. NOTICE OF TERMINATION.
     a. MONTH TO MONTH LEASE: Unless paragraph 3.d. governs this Agreement, and subject to just cause eviction
        requirements if the Premises is in the City of Seattle, any notice of termination, after the end of the initial lease term,
        shall be by written notice given at least twenty (20) days before the end of any monthly rental period, given by either
        party to the other. IF TENANT FAILS TO GIVE TIMELY NOTICE OF TERMINATION, TENANT WILL BE
        OBLIGATED TO PAY RENT THE FOLLOWING MONTH .
     b. EARLY TERMINATION OF FIXED TERM LEASE: Subject to applicable laws, if Section 3.b. applies and Tenant
        terminates this Agreement for whatever reason prior to the end of the full term stated in Section 3.b. or in the case
        that Tenant is evicted , Tenant shall be fully respons ible for rent and utilities until the lesser of the end of the lease
        term or until a new qualified Tenant is secured; and Tenant shall be responsible to pay the leasing fee equivalent to
        one-month's rent and all associated costs to secure a new Tenant for the remaining term of this Lease.
     c. Any notice of termination given by or on behalf of Tenant must provide for the vacation of the Premises by all
        occupants unless otherwise agreed by Landlord in writing. Notwithstanding the foregoing, no notice of termination
        may be given which violates any applicable law. Tenant's failure to vacate timely will result in additional charges.

13. SERVICE OF NOTICES.
     a. Notice to Landlord.   All notices required by this Lease Agreement and applicable sta~
        Tenant      Landlord shall be in writin and shall be mailed to the following address : ~
                               or email at
     b. Notice to Tenant.     Notice to Tenant shall be served on tenant as required by applicable statute or ordinance . Any
        notice for which no statute or ordinance specifies a particular method of service may be given either by delivering
        personally into the hands of Tenant; depositing in the mail, directed to the Tenant at the above referenced Real
        Property address; or by posting in a prominent place at the Address, or by oral communication or telephone message
        or other reasonable means to the extent allowed by law.

14. VACATING THE PREMISES.                     Upon terminating this Lease Agreement, Tenant shall vacate the premises, return all



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     keys to Landlord, remove all personal property and belongings of Tenant, and leave the premises in the same condition
     as Tenant found them except for normal wear and tear.

15. CHANGES TO THIS LEASE AGREEMENT.                 Landlord may change the terms of this Lease Agreement, including the
    amount of rent, as follows:
    a. For tenancies governed by section 3.b. above, Landlord must give notice of the change at least 30 days prior to the
       expiration of the lease term, and the change can be effective no earlier than the expiration of the lease term.
     b. For month-to-month or holdover tenancies, Landlord must give notice of the change at least 30 days prior to the last
        day of a rental period during which the change will take effect.
     c. Notwithstanding the foregoing, if the property is within the Seattle city limits, housing costs for the Tenant shall not
         increase by or more than 10% in any 12 month period without a 60 day prior notice.

16. RULES. The attached Rules are a part hereof Tei\ants failure to abide by them will
           first offense Ccnt'nusd olfensos shall incur 2 $S5QC;Lpen<:!lt'/.5'~1(;!J,.Jb<it YYIIL&e




17. DISPUTE ARISING FROM THIS LEASE AGREEMENT.                         Landlord and Tenant may agree in writing to submit to
    mediation any dispute arising from this Lease Agreement or under the provisions of the Washington Residential
    Landlord-Tenant Act, Chapter 59.18 RCW, but mediation shall not be required prior to any unlawful detainer action,
    unless all parties have agreed in writing. In the event either party engages, retains or hires an attorney to enforce any
    provision of this Lease, or any obligation under law, including but not limited to the collection of rent and/or other charges
    due hereunder, both Landlord and Tenant agree that, to the fullest extent permissible by law, court costs, prejudgment
    interest at the judgment rate from the date of default, Agent's time at $50.00 per hour, and reasonable attorney's fees
    may be awarded to the prevailing party. In the event of a trial, the amount shall be as fixed by the Court.

18. WAIVER OF SUBROGATION.                  Landlord and Tenant hereby release and waive, for the duration of this Lease
    Agreement and any extension or renewal thereof, their respective rights of recovery against each other for any loss
    resulting from perils of fire and/or extended coverage as defined in fire insurance policies issued to either Landlord or
    Tenant in effect at the time of the loss. Provided that such waiver and release shall apply only in the event such
    agreement does not prejudice the insurance afforded by such policies.

19. NON WAIVER/APPLICATION OF FUNDS/ENTIRE AGREEMENT.                        Landlord's failure on any occasion to require strict
    compliance with any provision of this Lease or to exercise any rights arising hereunder, or the acceptance of future rent,
    shall not be deemed a waiver of Landlord's right to subsequently enforce any such provision or to insist upon any such
    right. Tenant acknowledges and agrees that should any amount due from the Tenant under this lease or rental
    agreement become delinquent, including but not limited to deposits, fees, utilities, repair costs, etc., Landlord has the
    right to apply any and all monies received from the Tenant (or from any other person or entity paying money to the
    Landlord on the Tenant's behalf for any purpose), including but not limited to payments for rent, and notwithstanding any
    restrictive endorsement or memorandum on such payment, first to the delinquent non-rent amounts and then to apply any
    remaining portion of such payment to rent with the oldest rent being paid first. Tenant further agrees that acceptance of
    rent by the Landlord from the Tenant or any person or entity on the Tenant's behalf shall not be construed in any way as
    a waiver of Landlord's right to enforce a previously issued notice under RCW 59.12 or use actions of the Tenant or
    Tenant's guests or invitees which occurred prior to the acceptance of the rent as a basis for issuing and enforcing a
    notice authorized by RCW 59.12. This Agreement sets forth the entire agreement between the parties with respect to the
    matters set forth herein, notwithstanding the contents of any prior agreement, assumptions, advertisements, warranties or
    representations by any person or entity. It shall not be altered nor modified unless such alteration or modification is in
    writing and signed by all signatories hereto. No verbal agreements, advertisements, warranties or representations have
    been made or relied upon by either party or any agent or employee of either party, and neither party nor any agent or
    employee of either party is entitled to alter any provisions of this Lease by any verbal representations or agreements to
    be made subsequent to the execution of this Lease. The foregoing notwithstanding, during any month to month tenancy
    following the initial Lease, Landlord may change any provision of this Lease without the consent of Tenant in the manner
    prescribed by Washington State law.

20. OTHER PROVISIONS OF THE AGREEMENT.                    1) If Tenant has pets, service or companion animals, they must be
    secured during maintenance work. If not, Landlord or Landlord's vendors shall be entitled to leave the property prior to the
    completion of the work and it shall be Tenant's sole responsibility to schedule the completion of the work after the animal
    has been secured. Landlord or Landlord's vendors reserve the right to refuse maintenance work if only a person under
    age 18 is present at the time of the work; 2) Tenant has completed an application in connection with executing this Lease.
    Landlord has relied upon the statements set forth in said application in deciding to rent the Premises to Tenant. It is
    agreed that should Landlord subsequently discover any misstatements of fact in the Tenant's application, such
    misstatements shall be deemed a material and incurable breach of this Lease and shall entitle Landlord to serve Tenant



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     with a three-day notice terminating the tenancy under RCW 59.12.030(6); 3) No pets are allowed to visit the property and
     no "pet-sitting" shall be allowed.; 4) Tenant understands and agrees that any and all facilities provided by the Landlord
     are provided as a gratuity.




21. ADDITIONAL DOCUMENTS TO BE ATIACHED TO THIS AGREEMENT; TENANT'S SIGNATURE ACKNOWLEDGE
    RECEIPT:
    IZl Agency Disclosure                      IZl Pet Addendum
     IZl Hardwood Floor Addendum                                        IZl Condominium HOA Addendum
     IZl Furnished Addendum                                             IZl Washington State Landlord Tenant Laws Booklet
     IZl Property Condition Report (Addendum B)
        To Be Completed At Time Of Move-In
     IZl Mold Pamphlet
22. SIGNATURE.           The undersigned parties acknowledge that they have read this Lease Agreement and will comply with its
    terms.




                                                                   James A. Westbrook                                         Date




                                                                   Tanya A. Westbrook                                         Date


(Agent signature to be notarized if lease is greater than 12 months)

STATE OF WASHINGTON
                                ss. Acknowledgment (personal)
COUNTY OF

On this day                    before me
me k~n to be the individual described in        .~ - ................


_he,A- she signed the same as [his/her/their] free and vollntary
                                                                         '"'"
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                                                                                    .. . . .. .
                                                                                        ~
                                                                                                                                  • to
                                                                                                      trument, and acknowledged that
                                                                              and deed, for the uses and purposes therein mentioned.

GIVEN under my hand and official seal on this date of      II_ f S ~{9                                      .




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                                                                 RULES
        Resident(s):
        James A. Westbrook and Tanya A. Westbrook
        Address:



       ILLEGAL USE.      Tenant shall not use the property for any illegal purposes or commit or allow any action that may constitute
       waste or nuisance, as defined by either RCW 59.18 or RCW 7 .48.120.



       REPAIRS.       Tenant shall promptly repair, at Tenant's expense, any broken glass in doors or windows caused by tenants or
       their guests. Acts of nature are excluded.
       FREEZING.     Tenant shall protect the plumbing from freezing. As a minimum, Tenant shall leave the heat to a minimum of 60
       degrees during cold weather (and at all times during November through April), and take any other reasonable precautions.
       PLUMBING/DRAINS.           Tenant shall relieve stoppage of drains, sewers, toilets, and garbage disposals at Tenant's expense
       unless resulting from a condition existing at the time Tenant commenced occupancy, or roots growing into or through pipes. In
       the event that a professional Vendor determines that the stoppage/damage was caused by the tenant, tenant will be
       responsible for cost of repairs.
       NAILS/PAINTING. Without the prior written consent of the Landlord or Agent, Tenant shall not drive any bolts or screws into
       walls, other than standard picture hanging nails, and no painting of any type shall be done.
       NOISE/NUISANCE.        TV, music, and musical instrument volumes and any other source of noise, including but not limited to
       parties, gatherings, pets, and voices, shall be kept low enough so that no disruptive noise shall escape from the
       property. Tenant shall not create or permit any other nuisance on the property. In the event of a documented §!..'.~i
J'hJ            noise complaint by ~l.t_ij_lr.ji og tenant shall be charged a $100 fee, per occurrence, payable in addition to
       the next month's rent payment. Continued disturbances may result in eviction.
TW
       GUESTS.     Tenant is responsible for Tenant's guests/invitees complying with the Rules. Tenant shall not invite any persons
       who have been trespassed from the property to visit.
       VEHICLES.        Without the prior written consent of the Landlord or agent, recreation vehicles, trailers, watercraft, and
       inoperable automobiles, may not be parked or stored on the property, on or in any parking area provided for the property, or
       on any street or alley servicing the property. Repairs to any vehicles in these locations must be completed and the area
       cleaned up within 24 hours of commencement. Tenant will be responsible for any damage to the area in which any
       repairs are made, including any stains on the concrete or paved areas. Tenant shall maintain liability insurance and licenses
       as required by law upon all vehicles brought onto the Property and shall provide Landlord or Agent proof of same upon
       request.
       HALLWAYS AND COMMON AREAS.               If there are hallways or other common areas shared with other residents, noise shall
       be kept to a minimum therein and nothing may be stored, even temporarily, therein.
       FIREPLACE INSERT/WOOD STOVE.                Wood stoves are prohibited, unless provided by Landlord. No fireplace insert may be
       installed without Landlord's prior written permission. If permission is given, then the installation must be by a licensed, bonded
       and insured contractor, and be inspected by the applicable city or county building department, at Tenant's expense, before the
       same is used. Tenant agrees to abide by any burn bans in effect.
       WATERBEDS/PIANOS AND HEAVY OBJECTS.                  No waterbeds, aquariums, pianos, organs, libraries or other unusually
       heavy objects are permitted in the property without Landlord's written permission. As a condition to permitting a waterbed ,
       Landlord may require Tenant to provide and pay for waterbed insurance.




       INSPECTIONS.         The Landlord will make periodic inspections of the interior and exterior of the property. Such inspections



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may be as often as quarterly, or more often, depending on the condition of the unit during the previous inspection, and photos
will be taken . Proper notice will be given prior to any inspection.
SMOKE ALARMS.           Operable smoke/carbon monoxide alarm(s) have been installed in the property . If battery operated, it is
Tenant's responsibility to replace worn out batteries throughout the tenancy.
ALARM SYSTEMS.          If a security alarm system is provided by Landlord, Tenant shall be responsible for the prompt payment
of all monthly monitoring fees , repairs, or other charges incurred by Tenant for the security system. Tenant shall hold Landlord
harmless from any liability arising out of any malfunction of any such security system.
SCREENS.        Landlord is not obligated to provide window and/or door screens . If there are any presently installed , Landlord
has no obligation to maintain or replace them .
SMOKING.       Absolutely no smoking of any cigarette, cigar, pipe, tobacco in any form, or of any other substance, including
marijuana, by Tenant, a family member, invitee, licensee, or any person acting under Tenant's control is to take place within
the premises.

CONTROLLED SUBSTANCES.                          Production or use of federally controlled substances is strictly prohibited .
PETS.       Except for service animals as defined by law, absolutely no pets, including animals, birds or creatures of any
non-human variety are permitted on the property for any period of time during the term of this lease without Landlord's prior
written permission in the form of a fully executed Pet Addendum . In the event a Pet Addendum is executed , tenant is expected
to minimize the amount of noise made by pet(s). For example, barking dogs are not to be left unattended so as to disturb the
peaceful enjoyment of neighbors. In the case of condominium/apartment, pets shall not be allowed in the halls, common
spaces or surrounding property except on a leash and accompanied by the pet's owner. It is the Tenant's responsibility to
clean up and dispose of any pet excrement anywhere on the property and on adjacent sidewalks, streets , alleys and
neighbor's properties. No "guest" pets will be allowed for any period of time.
CONDOMINIUM/ HOA RULES.            If this property is governed by a Homeowner's Association, Tenant agrees to abide by all
rules and regu lations of the condominium association and any homeowners association, both those currently in effect and
those which may be incorporated in the future, and those rules are specifically incorporated as material terms of this Lease .
Tenant acknowledges receipt of Rules and Regulations for the Homeowner's Association.
SATELLITE DISHES.          Tenant shall not install any satellite dish without Landlord's written consent, which consent shall not
be unreasonably withheld, and any such installation shall be in accordance with federal law. Tenant has been notified that not
all residences are able to receive satellite signals and that the failure of the residence to receive such signals shall not entitle
the Tenant to place the dish in any other location than that authorized by the Landlord, nor to claim the lack of satellite
reception as a basis for termination of tenancy or diminished rental value .
SIGNS/MARKETING.              Tenant understands that Landlord may market the Premises for sale, or without limiting Tenant's
rights here under, for lease, and that Landlord, its agents and Vendors will contact Tenant from time to time for access to the
Premises . In addition to any other right of entry provided Landlord by this agreement or by applicable law, Tenant will permit
Landlord , its agents - including -                   licensees or any other NWMLS member, and Vendors to enter the Premises to
facilitate such marketing efforts . Tenant shall permit Landlord or Agent to display "for lease" or "for sale" signs and place
necessary key box on the Premises at any time. In accordance with RCW 59 .18.150(6), notice for showings will be given 24
hours in advance by phone and/or email. §ilQ~ll~i L;:J:p~llggl lii.<:EJ:\~1                     f~~-~~r.D.iSf:O§ to!~ §§i•'L()rJ§.?~\7. :rs_tl;3t]t siJa!f
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NOTIFICATION OF DAMAGE AND NEEDED REPAIRS.                   Tenant shall immediately notify Landlord or Agent immediately in
writing of any necessary repairs or damage to the Premises such as leaking pipes, toilets, faucets, cracks, etc. Tenant shall
take all necessary precautions (such as turning water off) to avoid such damage. If Tenant limits vendor or Agent access to
schedule or perform repairs/maintenance, Tenant will be responsible for any additional damage caused by the delay. Tenant
shall assume liability for repairs due to improper use of any appliances, fixtures, systems, etc., throughout the property.
Including but not limited to clogging drains, non-compliant items down the garbage disposal, slamming doors, exceeding
capacity, etc.
INSURANCE INCREASES.             Tenant shall do nothing nor keep anything in or about the Premises that will increase the
present insurance rate thereon. Tenant agrees to reimburse Landlord for any insurance increase resulting from any violation of
this rule .

LEGAL NOTICES.         Tenant shall promptly deliver to Landlord or Agent any legal notice received from any person or
governmental agency that relates to the Property.
STORAGE OF PERSONAL ITEMS.                  Tenant shall not store bicycles or other personal effects in common areas such as
halls, stairways, elevator, laundry rooms , public areas, driveways, or parking lots , unless specifically approved by Landlord .
LAUNDRY.      If applicable, the laundry room shall be cleaned by Tenant after each use. Laundry facilities shall not be used by
Tenant's guests or invitees or for commercial purposes . Tenant shall not use flammable materials or dye in washing machines .



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APPLIANCES.          Tenant shall not relocate within the Premises any Landlord supplied appliance without
Landlord's written consent.
THROWING ITEMS.                        Tenant shall not throw anything from windows or balconies.
HOME BASED BUSINESS.                            Unless otherwise permitted in section 4f of this agreement, tenant is not permitted to run a
business from the property.
AGENCY.      Under the disclosure    uirements of the Washington State Agency Law, Tenant acknowledges that the Leasing
Agent and Property Manager from                                                             not represent the Tenant but
represents the Owner in this transaction. An Agency disclosure has been made prior to the signing of this Lease. Tenant
acknowledges receipt of the pamphlet "The Law of Real Estate Agency."




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                                                      MOLD/FUNGUS AGREEMENT
Molds and fungi are everywhere in our indoor and outdoor environments. In fact, they play an important and necessary role in
decomposition and breaking down of organic matter. All molds require water or dampness to grow. Indoors, this water
intrusion can come from inadequate air circulation, flooding, backed-up sewers, leaking buildings, humidifiers, constant
plumbing leaks, steam, poor housekeeping, wet clothes, appliances not properly vented, etc.

There are a number of factors that influence the growth of mold: environmental humidity and moisture content of materials,
temperature, air circulation, light, and the chemical composition of potential substances. If there is mold growing, you can
impact its amplification by affecting the water source, encouraging proper ventilation, and drying out the area.
                                                            Cleaning Tips For Moisture Elimination
Sometimes, homes have a problem with moisture condensing on windows and even on walls in the kitchen and bathrooms.
This moisture can cause mildew or molds to grow.

We would like to offer a few hints to help eliminate the excess moisture on these windows and walls.

The moisture is a combination of the following conditions that can be corrected with adequate ventilation. Some examples of
daily activities that create excess moisture are as follows:
    Steam from showering and cooking
    Running the dishwasher and/or washer and dryer
    Excessive heat from the heating system combined with moisture
    Always having your blinds and windows closed tightly

To eliminate the excess moisture on the windows and/or walls, it is important to maintain adequate ventilation by using your
ventilation fans in the kitchens, laundry rooms, and bathrooms and by lowering your thermostat. Leaving windows open a little
will also help with the elimination of the moisture. Keep furniture, including beds, a few inches from the walls. Do not stack
boxes or other items against the walls. Do not tightly pack closets.

Management would also like to ask that you wipe down the windows and/or walls to remove the excess moisture when it
occurs.

As always, please contact our offices if you notice any water intrusions into your home.

It is very important that all residents notify management immediately if you experience any water intrusion or mold
inside your home or if your home has any other maintenance needs.

I agree to notify the Owner, in writing, if I am concerned that mold may be present inside my home.

Tenant Acknowledgement



James                 A. Westbrook (Tenant)                            Date       Tanya A. Westbrook (Tenant)        Date




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                                              TIP SHEET ON MOLD
It is our goal to maintain the highest quality living environment for our residents. To help achieve this goal, it is important to
work together to minimize the potential for conditions that could lead to the growth of naturally occurring mold.

Resident can help minimize mold growth in their apartment homes by taking the following actions:
Ventilation
    Open windows. Proper ventilation is essential. If it is not possible to open windows, run the fan on the apartment
    air-handling unit to circulate fresh air throughout your home.
    In damp or rainy weather conditions, keep windows and doors closed .
    If possible , maintain a temperature of between 50" and 80" Fahrenheit within your home at all times.
    Use the pre-installed bathroom fan or alternative ventilation when bathing or showering and allow the fan to run until all
    excess moisture has vented from the kitchen, bathroom(s), or laundry room.
    Do not overfill closets or storage areas. Ventilation is important in these spaces.
Cleaning and Maintenance
    Clean and dust your home on a regular basis as required by your lease. Regular vacuuming, mopping, and use of
    environmentally safe household cleaners is important to remove household dirt and debris that contribute to mold growth.
    Periodically clean and dry the walls and floors around the sink, bathtub, shower, toilets, windows and patio doors using a
    common household disinfecting cleaner.
    On a regular basis, wipe down and dry areas where moisture sometimes accumulates, like countertops, windows,
    windowsills, bathroom sinks, toilets, and shower enclosures .
    Thoroughly dry any spills or pet urine on carpeting.
Additional Tips
    Use care when watering houseplants. If spills occur, dry up excess water immediately.
    Ensure that your clothes dryer vent is operating properly, and clean the lint screen after every use.
    When washing clothes in warm or hot water, watch to make sure condensation does not build up within the washer and
    dryer closet; if condensation does accumulate, dry with a fan or towel.
    Do not allow damp or moist stacks of clothes or other cloth materials to lie in piles for an extended period of time .

Reporting Problems
    Immediately report to the management office any evidence of mold growth that cannot be removed by simply applying a
    common household cleaner and wiping the area. Also report any area of mold that reappears despite regular cleaning.
    Immediately report to the management office any failure or malfunction with the heating, ventilation or air-conditioning
    ducts in the apartment or home.
    Immediately report to the management office any inoperable windows or doors.
    Immediately report to the management office any musty odors you notice in the home.




James A. Westbrook (Tenant)                                Date   Tanya A. Westbrook {Tenant)                                Date




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                                                  AGENCY DISCLOSURE
 (Insert name of Licensee as licensed)




 represented
 (Insert name of Licensee and Company as licensed)
 TENANT'S (LESSEE) LICENSEE N/A
 (Insert Lessor, Lessee both Lessor and Lessee or neither Lessor or Lessee)
 represented James A. Westbrook and Tanya A. Westbrook

Tenant has received "Tenant Non-Representation Disclosure" form prior to signing of the Lease Agreement. If Tenant's
Licensee and Lessor's Agent are different salespersons affiliated with the same Broker, then both Tenant and Lessor confirm
their consent to that Broker acting as a dual agent. If Tenant's Licensee and Lessor's Agent are the same Agent, then both
Tenant and Lessor confirm their consent to that agent and his/her Broker acting as Dual Agent.

Under the disclosure requirements of the Washington State Agency Law, Tenant acknolwedges that the Leasing Agent and
Property Manager from                                                                     do not represent the Tenant but
represents the Landlord in this transaction . An Agency disclosure has been made prior to the signing of this Lease. Tenant
acknowledges receipt of the pamphlet "The Law of Real Estate Agency".




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                                                  PET ADDENDUM
                To· · · · · · · · · · · · · · · · · · · · · · IResidential Lease Agreement
 Resident(s):
 James A. Westbrook and Tanya A. Westbrook
 Address:
                                 Bellevue, WA -

This Addendum is hereby attached to and becomes a part of the Residential Lease Agreement dated November 13. 2018
between                     Landi     and James A. Westbrook and Tanya A. Westbrook (Tenant), for the Premises
located at                               of Bellevue, County of King, Washington.

Witnesseth:
That, Whereas the said Tenant desires to keep one pet(s) in the Premises demised under the Rental Agreement herein.




and Whereas, the said Lease Agreement prohibits the keeping of said pets without permission of the Landlord, NOW
THEREFORE, in consideration of the rental reserved therein and on mutual terms and conditions and covenants of the Lease
Agreement herein, the Landlord does hereby grant unto the Tenant permission to keep aforementioned pet(s) in the demised
Premises subject to the following terms and conditions:

1) The Tenant agrees that the Security Deposit shall be refunded to the Tenant upon termination of the Tenancy and only
   upon Tenant meeting the conditions of paragraph 3 of this Addendum.

2) The pet(s) will be legally licensed under local government requirements.

3) All floor areas will be professionally cleaned and carpets shall be professionally deodorized. Upon vacancy Tenant shall
    be solely responsible for the full cost. Any additional cleaning or damage repairs to the buildings or grounds of the
    Premises, necessary as a result of the pet, will be the full responsibility of the Tenant.

4) The Tenant agrees to keep the pet under control at all times. This means that the animal should be on a leash, in a carrier
   or otherwise in your direct control. When in the presence of people or other animals the pet is expected to be well behaved
   (not jumping nipping people, snarling or barking, etc.) Should the pet become a nuisance due to noise, barking, or damage
   to buildings or grounds, Tenant agrees to immediately remove the pet from the Premises upon the Landlord's request.

5) It is understood that if Landlord insists on the removal of the pet, the lease will be effectively terminated by Landlord and
   there will be no penalties or escalation of rents by Tenant.

Date: November 13. 2018


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                                                                 James A. Westbrook                                      Date




                                                                 Tanya A. Westbrook                                      Date




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    HARDWOOD, LAMINATES AND PERGO FLOOR CARE ADDENDUM
                  To
 Resident(s) :
 James A. Westbrook and Tanya A. Westbrook
 Address:
                                  Bellevue, WA -

We hope you enjoy the beautiful hardwood floors of your new home. To keep your floors like new, we ask that you follow the
methods below for care of these floors . Hardwood floors, while durable, are still wood and are still subject to stains, scratches,
dents and puncturing. Refinishing floors can be very expensive. Please take good care of the floors so you don't find yourself
paying additional charges for refinishing or replacement. You understand that, if refinishing is required, it may be necessary to
refinish entire rooms in order to have the floors match, even if the stain or damage is limited to an area of a room.
Pergo or any other newer Laminate Flooring requires similar care. The Differences are explained below. Make sure you know
and follow the recommendations for each type of floor. Ask your Landlord if you have any questions.

1. Dust mop, sweep or vacuum floors weekly.             As often as you should vacuum your carpets.
2. Do not wet mop.       All water can damage wood and laminates. Clean liquid spills quickly with a dry cloth and sticky spills
   with a slightly dampened cloth . When you need to mop the floors, follow the product directions for the flooring in the home
   that was provided to you by the Landlord . In the event no instructions were left for you , you must consult the Landlord to
   obtain such instructions.
3. Avoid using certain cleaning products.             For wood flooring, never use soaps detergents, or oil soaps, and never use
   vinyl cleaners or tile cleaners. For Laminates or Pergo only, a light wiping of acetone or a non-abrasive household cleaner
   will remove most if not all fruit stains, tar stains, greases, etc. Again, discretion should be used at all times, and if you are
   not certain of what cleaners to use, please refer to the Landlord of the home for such instructions.

4. Prevent scratches.      Make sure the bottoms of all furniture have felt or cloth pads, coasters, broad fabric, or nylon
   guides attached to prevent scratches. High heeled shoes are often the cause for hardwood floor damage, and utmost
   caution should be used with any types of shoes on hardwood floors . Even rivets on jeans can scratch floors . Pets are a
   major cause of hardwood floor damage.
5. Prevent tracking of dirt.       Mats outside the front and back door and inside both doors will reduce dirt, sand , water and
   abrasives from tracking onto floors . Shake out, vacuum or wash frequently. Leaving dirty, wet or muddy shoes outside or
   at the entry will help as well.

6. Do not apply finish, or wax on any floors.          Residents shall not use any wax or refinish products on the floors without
   Landlords prior written permission.

7. Landlord reserves the right to collect for damages.      The condition of the floors are noted on your move-in report,
   and photographs have been taken prior to your occupancy.

Date: November 13. 2018




                                                                  James A Westbrook                                        Date



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                                                                  Tanya A. Westbrook                                       Date




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                                      CONDOMINIUM HOA ADDENDUM
 Resident(s):
 James A. Westbrook and Tanya A. Westbrook
 Address:
                                   Bellevue, WA -
This addendum is entered into in connection with the Rental/Lease Agreement (the "Lease") for Property located at
-        the "Premises"), between                           "Landlord") and James A. Westbrook and Tanya A. Westbrook ("Tenant").
It is agreed between Landlord and Tenant as follows:
The premises are part of a Condominium Complex known as    !!!!!!!!!!!!!!!!!!!!!!I····
1. In addition to the terms of the Lease between Landlord and Tenant, Tenant shall comply with all rules and regulations governing the
    Condominium Complex, including but not limited to The Declaration of Condominium, and reservations set forth on the Survey Map
    associated with the Condominium Complex, the Rules and Regulations for occupants of the Condominium Complex, and the bylaws
    governing the Condominium Complex (collectively, the "HOA Documents"). Tenant acknowledges receipt of these documents.
2. Tenant shall promptly pay to Condominium Complex any fines or charges assessed against Tenant as a result of Tenant's violation of the
    HOA Documents. Tenant shall reimburse Landlord/Agent immediately upon demand for any fines or charges assessed against
    Landlord/Agent as a result of Tenant's violation of the HOA Documents.
3. Fees and fines associated with the Homeowner's Association (HOA) including, but not limited to, move in/out fees and replacement costs
    for keys, fobs and garage door openers are current as outlined in the House Rules. It is possible that during tenancy these fees can be
    voted upon and changed by the HOA Board. Tenant understands and agrees that the fees associated with the move out may be different
    than when they moved in, and agree to pay revised fees as voted on by the HOA Board.
4. In case of any conflict between the Lease and the HOA Documents, whichever is more restrictive in governing the conduct of occupants
    of the Premises shall control.
Associated Costs:                                      Replacement Costs For:
Move-in Fee: $650.00                                   Key Fob:                                     $100.00 Garage Door Openers:
                                                       Parking Permits:                             W£2_Replacement Keys:
                                                       Parking Space #:                             _ ,torage Space#:
                                                                                                           Date: November 13, 2018




 Name:                              Address:                                      Phone:                           Relationship:


 Name:                              Address:                                      Phone:                           Relationship:



Dependant(s):




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                                                                       James A. Westbrook                                            Date




                                                                       Tanya A. Westbrook                                            Date




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                              FURNISHED ADDENDUM FOR TENANT LEASE

 Resldent(s) :
 James A. Westbrook and Tanya A. Westbrook
 Address:
                                  llevue,WA -


Tenant acknowledges that the Premises will be Leased containing items of furniture/housewares in their current "as is"
condition . Landlord shall provide Tenant with a specific Inventory and Condition Report, which will be attached to Addendum B
(Property Move-In Condition Report). Upon the expiration of the Lease or other termination of the Lease, Tenant shall return
the furniture/housewares to Landlord in the original condition as when delivered by Landlord , with the exception of ordinary
wear and tear.
If Tenant fails to return the furniture/housewares and/or should the furniture/housewares be damaged or destroyed, Tenant
acknowledges and agrees that Tenant shall be responsible for paying the repair or replacement cost as outlined in the
Inventory and Property Condition Report, and Landlord may deduct such costs from any security deposit held by Landlord
under the terms of the Lease.




                                                               James A. Westbrook                                    Date




                                                               Tanya A. Westbrook                                    Date




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                                                                     Are You Planning to Buy or Rent a Home Built
                                                                     Before 1978?

                                                                     Did you know that many homes built before 1978 have lead -ba;ed
                                                                     pl'lint? Lead from paint, chips, and dust can pose serious health
                                                                     hazards.



                                                                     · How lead gets into the body
                                                                     , About health effects of lead
                                                                     , What you can do to protect your family
                                                                     , Where to go for more Information

                                                                     Befor~ tenting     or buying a pte -1 978 hom~ or apartment~ federal
                                                                     lawr~qul ms:

                                                                     · Sellers must disclose known information on lead-based paint or lead·
                                                                       based paint hazards before selling a house.
                                                                     · Real estate sales contracts must include a specific warning statement
                                                                       about lead based paint. Buyers have up to 10 days to check for lead.
                                                                     • Landlords must disclose known Information on lead-based paint
                                                                       and lead-based paint hazards before leases take effect Leases must
                                                                       include a specific warning statement about lead-based paint.

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                                                                     }fOt!l piS   1978 f'W·IHf! Of apM tm~~l"lt;

                                                                       Read EPA's pamphlet. The Lead·Safe Certified Guide to Renovate Right,
                                                                       to learn about the lead-safe work practices that contractors are
                                                                       required to follow when working in your home (see page 12).




          Simple Steps to Protect Your Family                        lead Gets into the Body in Many Ways
                  from lead Hazards


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                                                                     Adults and children can get lead into their bodies if they:
                                                                     , Breathe in lead dust (especially during activities such as renovations,




I
                                                                       repairs, or painting that disturb painted surfaces).

                                                                     · Swallow lead dust that has settled on food, food preparation surfaces,
, Always keep painted surfaces in good condition to minimize           and other places.
 deterioration.
                                                                     · Eat paint chips or soil that contains lead.
 Get your home checked    fo1   lead hazards Find a certified
 inspector or risk assessor at epa .gov/ledd.                        lead is especially dangerous to children under the age of 6.
                                                                     · At this age. children's brains
 Talk to your landlord about fixing surfaces with peeling or
                                                                       and nervous systems are
 chipping paint.
                                                                       more sensitive to the
                                                                       damaging effects of lead.
 Regularly clean floors, window sills, and other surfaces.
                                                                     , Children's growing bodies
 Tnke precautions to avoid exposure to lead dust when                  absorb more lead
 remodeling.
                                                                      Babies and young children
                                                                      often put their hands
 When renovating, repairing, or painting, hire only EPA- or state-    and other objects in their
 approved Lead-Safe certified renovation firms.                       mouths. These objects can
                                                                      have lead dust on them.
, Before buying, renting, or renovating your home, have it
  checked for lead based paint.                                      Women of childbearing age should know that lead is dangerous to
                                                                     a developing fetus.
 Consult your health care provider about testing your children
 for lead. Your pediatrician can check for lead with a simple        , Women with a high lead level in their system before or during
 blood test.                                                           pregnancy risk exposing the fetus to lead through the placenta
                                                                       during fetal development.
 Wash children's hands, botlles, pacifiers, and toys often

 Make sure children avoid fatty (or high fat) foods and eat
 nutritious meals high in iron and calcium.

· Remove shoes or wipe soil off shoes before en tel ing your
 house.
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H                                                                                            Check Your Family for Lead

    Lead affects the body in many ways. It is important to know that                         Get your children and home tested If you think your home has
    even exposure to low levels of lead can severely harm children.                          lead.

    In children, exposure to lead can cause:                                                 Children's blood lead levels tend to Increase rapidly from 6 to 12
                                                                                             months of age, and tend to peak at 18 to 24 months of age.
    · Nervous system and kidney damage
    , Learning disabilities, attention deficit                                               Consult your doctor for advice on testing your children. A simple blood
     disorder, and decreased intelligence                                                    test can detect lead. Blood lead tests are usually recommended for:

    · Speech, language, and behavior                                                         · Children at ages 1 and 2
      problems
                                                                                             • Children or other family members who have been exposed to high
    , Poor muscle coordination                                                                 levels of lead

    · Decreased muscle and bone growth                                                       • Children who should be tested under your state or local health
                                                                                               screening plan
    · Hearing damage
                                                                                             Your doctor can explain what the test results mean and if more
                                                                                             testing will be needed.
    While low-lead exposure is most common,
    exposure to high amounts of lead can have
    devastating effects on children, including
    seizures, unconsciousness, and. in some cases, death.

    Although children are especially susceptible to lead exposure, lead can
    be dangerous for adults, too.

    In adults, exposure to lead can cause:
    · Harm to a developing fetus
    · Increased chance of high blood pressure during pregnancy
    · Fertility problems (in men and women)
    · High blood pressure
    • Digestive problems
    • Nerve disorders

    , Memory and concentration problems

    · Muscle and joint pain
                                                                                                                                                                         4




Wher~         Lead Based Paint Is found                                                      klent!fying lead-Based Paint and Lead-Based Paint
                                                                                             Hazards
In general, the older your home or childca~e facility, the more likely it
has lead-based paint.'
                                                                                             Deteriorating lead-based paint (peeling, chipping, chalking,
                                                                                             cracking, or damaged paint) Is a hazard and needs immediate
Many homes, including private, federally-assisted, federally-                                attention. Lead-based paint may also be a hazard when found on
owned housing, and childcare facilities built before 1978 have                               surfaces that children can chew or that get a lot of wear and tear, such
lead-based paint. In 1978, the federal government banned consumer                            as:
uses of lead-containing paint.'
                                                                                             - On windows and window sills
Learn how to determine if paint is lead-based paint on page 7.
                                                                                             • Doors and door frames
Lead can be found:                                                                           · Stairs, railings, banisters, and porches
• In homes and child care facilities in the city, country, or suburbs,
                                                                                             Lead-based paint is usually not a hazard if It is in good condition
· In private and public single-family homes and apartments,                                  and if it is not on an impact or friction surface like a window.

· On surfaces inside and outside of the house, and                                           Lead dust can form when lead-based paint is scraped, sanded, or
                                                                                             heated. Lead dust also forms when painted surfaces containing
• In soil around a home. (Soil can pick up lead from exterior paint or                       lead bump or rub together. Lead paint chips and dust can get on
  othe1 sources, such as past use of leaded gas in cars.)                                    surfaces and objects that people touch. Settled lead dust can reenter
                                                                                             the air when the home is vacuumed or swept, or when people walk
Learn more about where lead is found at epa,gov/Jead.                                        through it. EPA currently defines the following levels of lead in dust as
                                                                                             hazardous:
                                                                                             - 40 micrograms per square foot     (~gift')   and higher for Roars,
                                                                                               including carpeted Roars
                                                                                             · 250 ~gift' and higher for interi01 window sills

                                                                                             Lead in soil can be a hazard when children play in bare soil or when
                                                                                             people bring soil into the house on their shoes. EPA currently defines
                                                                                             the following levels of lead in soil as hazardous:
                                                                                             • 400 parts per million (ppm) and higher in play areas of bare soil
                                                                                               I ,200 ppm (average) and higher in bare soil in the remainder of the
                                                                                               yard
    "I ead-ba}:ed paintu i5 cummtly defined by the federal 90\.'ernment a-. paint with
     lend levels greatN than 01 equill to 1.0 milllgfilm per square centimeter (mg/cm), or   Remember, lead from paint chips-which you can see-and lead
     more than 0 5% by weighl
                                                                                             dust-which you may not be able to see-both can be hazards.
1
    "l ead-cont<llning pamt" is currently defined by the fede1al government as lead in new
     dried pa1nt in excess of 90 parts per million (ppm) by weight.
                                                                                             The only way to find out if paint, dust, or soil lead hazards exist is to
                                                                                             test for them. The next page describes how to do this.                      6
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  h(!d im Your I !om£' for Le?d.                                            Chocking Your Home for lcacl, continued

You can get your home tested for lead in several diffe1ent ways:            In preparing for renovation, repair, or painting work in a pre 1978
                                                                            home, Lead-Safe Certified renovators (see page 12) may:
• A lead-based paint inspection tells you if your home has lead-
  based paint and where it is located. It won't tell you whether your       · Take paint chip samples to determine if lead-based paint is
  home currently has lead hazards. A trained and certified testing              present in the area planned for renovatio1~ and send them to an
  professional, called a lead-based paint                                       EPA-recognized lead lab for analysis. In housing receiving federal
  inspector, will conduct a paint inspection                                    assistance, the person collecting these samples must be a certified
  using methods, such as:                                                       lead-based paint inspector or risk assessor

   · Portable x-ray tluorescence (XRF) machine                              · Use EPA-recognized tests kits to determine if lead-based paint is
                                                                              absent (but not in housing receiving federal assistance)
   • Lab tests of paint samples
                                                                            • Presume that lead-based paint is present and use lead-safe work
  A risk assessment tells you if your home                                    practices
  currently has any lead hazards from lead
  in paint, du,t, or 'oil. It also tells you what                           There are state and federal programs in place to ensure that testing is
  actions to take to address any hazards. A                                 done safely, reliably, and effectively. Contact your state or local agency
  trained and certified testing professional,                               for more information, visit epa .gov/leod, or call 1 -800-424-LEAD
  called a risk assessor, will:                                             (5323) for a list of contacts in your area .'

     San1ple paint that is deteriotated on doors, windows, noors, stairs.
     and walls

   • Sal'nple dust near painted surfaces and sample bare soil in the
     yard

   · Get lab tests of paint. dust, and soil samples

  A combination inspection and risk assessment tells you if your home
  has any lead-based paint and if your home has any lead hazards, and
  where both are located

Be sutc to 1ead the report provided to you after your inspection or risk
assessment is completed, and ask questions about anything you do not
understand.




                                                                            :: Hearing- or spe ec h -c h<~llenged individual'> may ar.cess this number   thro~19h   nY by
                                                                               calling the FelieraJ Relay Servir.e at 1-80CH177-t1399
                                                                                                                                                                             8




If you suspect that your house has lead-based paint hazards, you            Disturbing lead-based paint or
can take some immediate steps to reduce your familyjs risk:                 removing lead improperly can
                                                                            increase the hazard to your family by
· If you rent, notify your landlord of peeling or chipping paint.           spreading even more lead dust around
                                                                            the house.
, Keep p.,inted surfe~ces clean at1d free of dust. Clean floors, window
  frames, window sills, rmd other surfaces weekly. Use a mop or sponge      • In addition to day-to-day cleaning
  with warm water and a general all-purpose cleaner. (Remember:               and good nutrition, you can
  never mix ammonia and bleach products together because they can             temporarily reduce lead-based paint
  form a dangerous gas.)                                                      hazards by taking actions, such as
                                                                              repairing damaged painted surfaces
· Carefully clean up p.1int chips immediately without creating dust.          and planting grass to cover lead-
· Thoroughly rinse sponges and mop heads often during cleaning of             contaminated soil. These actions are
  dirty 01 dusty areas, and again afte1 ward.                                 not permanent solutions and will need
                                                                              ongoing attention.
 Wash your hands and your children's hands often, especially before
 they eat and before nap time and bed time.                                     You ce~n minimize exposure to lead
                                                                                when renovating, repairing, or painting by hiring em EPA- or state-
. Keep pl~y Clreas clean, Wa~h boltles, pacifiers, toys, and stuffed            certified renovator who is trained in the use of lead-safe work
  animals regularly,                                                            pr.actices If you area do-it-yourselfer, learn how to use lead- safe
                                                                                work practices in your home.
· Keep children from chewing window sills or other painted surfaces, or
  eating soiL                                                                   To 1emove lead hazards permanently, you should hire a certified lead
                                                                                abatement contractor. Abatement (or permanent hazard elimination)
 When renovating, repairing, or painting, hire only EPA- or state               methods include removing, sealing, or enclosing lead-based paint
 approved Lead-Safe Certified renovation firms (see page 12)                    with special materials. Just painting over the hazard with regular
                                                                                paint is not pet manent control.
 Clean or remove shoes before entering ymtr home to avoid        tr~cking
 in lead from soil.
                                                                            Always use a certified contractor who Is trained to address lead
· Make sure children avoid fatty (or high fat) foods and eat nutritious     hazards safely.
  meals high in iron and calcium. Children with good diets absorb less
                                                                            ~   Hire a Lead-Safe Certified firm (see page 12) to perform renovation,
  lead
                                                                                repair, or painting (RAP) projects that disturb painted surfaces

                                                                            · To correct lead hazards permanently, hire a certified lead abatement
                                                                              professional. This will ensure your contractor knows how to WOI k
                                                                              safely and has the proper equipment to clean up thoroughly.

                                                                            Certified contractors will employ qualified workers and follow strict
                                                                            safety rules as set by their 'tate or by the federal government.


                                                                                                                                                                            10
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                                                                                              Honovating, Rcmo:h:!ing, or Rep<~ iring (RRP) a Home
                                                                                              with Lead-Ba~ed Paint
     If your home has had lead abatement work done or if the housing is
     receiving federal assistance, once the work is completed. dust cleanup                   If you hire a contractor to conduct renovation, repair, or painting
     activities must be conducted until clearance testing indicates that lead                 (RRP) projects in your pre-1978 home or childcare facility (such as
     dust levels Jle below the following levels:                                              pre-school and kindergarten), your contractor must:
     ' 40 micrograms per square foot        (~g/ft')   for floo1 s, including carpeted            Be" I eod-Safe Certified firm opproved by EPA or an
      floors                                                                                      EPA-authorized state program
     , lSO   ~g/ft'   for interior windows sills                                                  Use qualified trained individuals (Lead-Safe
                                                                                                  Certified renovators) who follow specific lead-safe
     , 400 11g/ft' for window troughs                                                             work practices to prevent lead contamination

     For help in locating ce1 titied lead abatement professionals in your area,               • Provide a copy of EPA's lead hazard information
     call yollr state or local agency (see pages 14 and 15), or visit                           document, The Lee1d Safe Certified Guide to
     ''"" gov/lead, or caii1 -800-424-LEAD,                                                     Renovate Right

                                                                                              RRP contractors working in pre-1978 homes and childcarefacillties
                                                                                              must follow lead-safe work practices that:
                                                                                              • Contain the work area. The area must be contained so that dust and
                                                                                                debris do not escape from the work area, Warning signs must be put
                                                                                                up, and plastic or other impermeable material and tape must be used.
                                                                                              , Avoid renovation methods that generate large amounts of
                                                                                                lead-contaminated dust. Some methods generate so much lead-
                                                                                                contaminated dust that their use is prohibited, They are:
                                                                                                   , Open-fiame burning or torching
                                                                                                   • Sanding, grinding, planing, needle gunning, or bl"'ting with
                                                                                                     power tools and equipment not equipped with a shroud and
                                                                                                     HEPA vacuum attachment and
                                                                                                   ~   Using a heat gun at temperatures greater than 1 100.:-F

                                                                                              · Clean up thoroughly. The work area should be cleaned up daily,
                                                                                                When all the work is done, the area must be cleaned up using special
                                                                                                cleaning methods,
                                                                                              , Dispose of waste properly. Collect and seal waste in a heavy duty
                                                                                                bag or sheeting, When transported, ensure that waste is contained to
                                                                                                prevent release of dust and debris,

                                                                                              To learn more about EPA's requirements for RRP projects visit
11                                                                                            epa,gov/getleodsafe, or read The Lead-Safe Certified Guide to              12
                                                                                              Renovate Right.




                                                                                              Fm· Mom Information

     While paint, dust, and soil are the most common sources of lead,                         The National Lead Information Center
     other lead sources also exist:                                                           Learn how to protect children from lead poisoning and get other
                                                                                              information about lead hazards on the Web at epa,govilead and
     , Drinking water. Your home might hilve plumbing with lead or lead                       hud gov/le•d. or caii1-800-424-LEAD (5323).
      solder. You cannot see, smell, or taste lead, and boiling your water will
      not get rid of lead If you think you1 plumbing might contain lead:                      EPA's Safe Drinking Water Hotline
                                                                                              For information about lead in drinking water, call1-800-426-4791, or
        • I l<e nnly cold water for drinking and cooking.                                     visit epa gov/lead for information about lead in drinking water,
        , Run water for 15 to 30 seconds before drinking it, especially if                    Consumer Product Safety Commission (CPSC) Hotline
          you have not used your water for a few hours                                        For information on lead in toys and other consumer products, or to
                                                                                              report an unsafe consumer product or a product-related injury, call
        Call your local health department or water supplier to find out
                                                                                              1-800-638-2772, or visit CPSC's website at cpsc.gov or
        about testing your water, or visit epa gov/lead for EPA's lead in
                                                                                              saferp1oduns gov.
        drinking water information
                                                                                              State and Local Health and Environmental Agencies
     , Lead smelters or other industries that release lead into the air.
                                                                                              Some states, tribes, and cities have their own rules related to lead-
     · Your job. If you work with lead, you could bring it home on you1 body                  based paint. Check with your local agency to see which laws apply
       or clothes, Shower and change clothes before coming home, Launder                      to you Most agencies ct~n also ptovide information on finding a lead
       yoUI work clothes separately from the rest of your family's clothes,                   abatement firm in your area, and on possible sources of financial aid
                                                                                              for reducing lead hazards, Receive up-to,date address and phone
     , Hobbies that use lead, such as makillg pottery or stained glass,                       information for your state or local contacts on the Web at epa.gov/lead,
       or refinishing furniture. Call your local health department for                        or contact the National Lead Information Center at 1-800-424-LEAD.
       information about hobbies that may use lead,
     , Old toys and furniture may have been painted with lead-containing
       paint Older toys and other children's products may have parts that                     I    Hearing or speech challenged individuals may access any       of~
                                                                                                   phone numbers in this brochure through TTY by calling the toll -
                                                                                                                                                                   the
       contain lead. ~
                                                                                                   free Federal Relay Service at 1 ,fi00-S'l'/-833'l
     · Food and liquids cooked or stored in lead crystal or lead-glazed
       pottery or porcelain may contain lead.
     , Folk remedies, such as "greta'' and "azarcon:' med to tteat an upset
       stomach,




     ' In 1978, the federal governm;mt b<~nned to~. othe1 children's products, and fumiture
       with lea~l-containing paint {16 c:TR 1 3031 In 2008, Lhe federal government banned
       leJd in must children's products, The federill governm\!nl currently ban'i lead in
       e>.ce~s of 100 ppm by weight in most children's products (76 FR 4446Jl
13                                                                                                                                                                       14
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     U. S. Envinmment<J! Protection Agen'Y {EPA)                                                                  Consumer Product Safety Commission (CPS()
     Regional Offices
                                                                                                                  The CPSC protects the public against unreasonable risk of injury
     The mission of EPA is to protect human health and the environment.                                           from consumer products through education, safety standards
     Your Regional EPA Office can provide fU11her information regarding                                           activities, and enforcement. Contact CPSC for further information
     regulations and lead protecti01> programs.
                                                                                                                  regarding consumer product safety and regulations.
     Region 1 ((cmnEctlwt,           M.n~achusN!s,       Malne,    Region 6 (Arkan~s. lollisiana, New Mexico,
     Nt>w Hilrnjl\hire, llhmle rslancl. Vermont/                   Oklr~homa, Texa~.
                                                                                   and 66 lribesl
                                                                                                                  CPSC
     Region<1l Lead Contact                                        R~ionallead Contact                            4330 East West Highway
     U5 EPA Rl-9io.-a 1                                            US EPA Region 6                                Bethesda, MD 20814-4421
     5 ?osl 0Hrc4!' 5quare, Suite 100, m.s OS~                     1~5   RM\ Avt!nue, lllh Floor
     IJ.mtotl, MA OJ 109.:'J912                                    l>alla~.
                                                                          TX 75202 273)                           1-800-638-2772
     (81:18) :\72-7.H 1                                            (214)665-27~
                                                                                                                  cpsc.gov or saferproducts.gov
     Rrglon 2 (New Jersey, New York, Puello Rrco,                  Region 7 (Iowa, Kansas. Missouri, Nebta!>ka)
     Viryinlslands)
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     Edison,   ~J   08837-36:19                                    (&10)2:234125                                  HUD's mission Is to create strong, sustainable, inclusive
     {7321321-6671
                                                                   Region 8 (Colnradt>, Mont.ln.l, Nmth           communities and quality affordable homes for all Contact
     AegiOf'l l   {l);•lt~YMre,   f-"<tryl.md, l'<'nnsy1.,.;miit   Dakota, South i)Jkota, Utah, Wy<~ming)         HUD's Office of Healthy Homes and Lead Hazard Control for
     VirginiO'I. DC, We<. I Virginia)
                                                                   Re-gional Lei\d Contact
                                                                   US EPA Region 8
                                                                                                                  further information regarding the Lead Safe Housing Rule, which
     Regional Lead Contact
     US EPA Re-gion3                                               1595 Wynkoop St                                protects families in pre-1978 assisted housing, and for the lead
     1650 Arch Street                                              Denver, CO 80202
     Phildddphicl, PA 19103                                        (303)312-6966                                  hazard control and research grant programs.
     (215)8142088
                                                                   Region 9 (A•irona, (alif01nia, Haw;~ii,
     Region 4 (Aiabdmil, Flonda, Georgia,                          Nev,ada)                                       HUD
     Kentucky. Mi~~,~~~ppi, North Carolina, South                  Regiundii.J!od Contao                          45 1 Seventh Street, SW, Room 8236
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     us   (PAP:~lion4                                              San Frand~r:<l, CA 94105                       (202) 402-7698
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     61 For~yth Srre€i, SW
                                                                                                                  hud.gov/offices/lead/
     Ailanta, GA :iO:iOl                                           Region 10 (Aid~lta,lddi1o, OrL"gOn,
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     77 West Jackson Bou:evard                                     1206)553-1200
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     {31 2) 886 7836                                                                                              U S CPSC      lleth~sdJ   MD 2081•1                                                                     ~ept~mbrr2013
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15                                                                                                                                                                                                                                          16




                                                       PORTJ'NT!
                        Lead From Paint, Dust, and Soil in and
                        Around Your Home Can Be Dangerous if
                                Not Managed Properly
           • Children under 6 years old are most at risk for lead
             poisoning in your home.

               Lead exposure can harm young children and babies even
               before they are born .

           • Homes, schools, and child care facilities built before 1978
             are likely to contain lead-based paint.

               Even children who seem healthy may have dangerous
               levels of lead in their bodies.

               Disturbing surfaces with lead-based paint or removing
               lead-based paint improperly can increase the danger to
               your family.

               People can get lead into their bodies by breathing or
               swallowing lead du st, or by eating soil or paint chips
               containing lead.

               People have many options for reducing lead hazards.
               Generally, lead-based paint that is in good condition is not
               a hazard (see page 10).
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4f:   Other Terms .... continued

6)    Tenant will pay for all packing, storage, moving and reinstalling of furniture and items at their
      expense for the duration of the occupancy. Tenants are allowed to start the move at any time
      after their lease begins, at the tenants choosing. The movers, packers and storage companies
      must be approved by the Owner and HOA, must provide certificates of insurance for the full
      value of the materials to be moved, naming Landlord as additional insured. The Tenants
      agree to keep the dining room table and living room coffee table in the unit at all times.
      Tenants agree to return the unit to how they received it at move in with all furniture and items
      returned to their correct location. Tenants agree that they are solely responsible for any
      damage to the unit or furniture and will repair or replace any damage at their cost. Tenant to
      notify Landlord as soon as possible, and at least 72 hours, before removing furniture or other
      items. Landlord will prepare a photographic bill of lading and listing of leased furniture and
      items, which must be signed by Landlord, Tenant, and any movers, packers, and storage
      companies prior to removal.

7)    Tenants may elect to replace the Master bedroom carpet, due to indentation of existing
      furniture. Tenants agree to pay for this expense and obtain Landlord's approval of the carpet,
      vendor, and material prior to work. Tenants also agree to hire the Landlord's contractors for
      any repairs that need done to walls, etc. from the removal of existing furniture.

8)    Tenants shall have the option to extend the Lease an additional12 -18 months (tenant to
      choose), by providing written notice within 60 days prior to the end of the initial lease term, at
      the current monthly rent

9)    If the Tenants do not extend the Lease past the initial18-month term, the Tenants agree to pay
      a fee to the Landlord in the amount of           to cover the carrying cost while the apartment
      is repainted and restored to original condition.

10) Tenants agree to pay all fee related to the Move-in and Move-Out of furniture assessed by the
    HOA.




                                                      Jnmes A. Westbrook                           Date




                                                      Tnnyn Krievins Westbrook                     Date




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                                                             EXHIBIT "A"




                                                         ADDENDUM TO LEASE


                THIS ADDENDUM is made th is                           day of
-          ("Unit Owner") and
    "Tenant"L as an addendum to a lease executed
    (the "Lease") for Unit No. -          the "Unit") in
    as the "Condominium").


                In compliance with the Declaration of the Condominium, Unit Owner and Tenant hereby further agree as
    follows :


            1.       Lease Subject to Condo Act and Governing Documents. The Lease is subject to the applicable
    provisions of the Washington Condominium Act and the Condominium Declaration, Bylaws, Maps and Surveys,
    together with any and all exhibits, schedules or certificates thereto, and Rules as the same may be amended from
    time to time (collectively, "Governing Documents") . In the event of any inconsistency between the Lease and the
    provisions of the Governing Documents, the provisions of the Governing Documents shall prevail.


            2.     Use Subject to Governing Documents. The right of Tenant to use and occupy the Unit shall be
    subject and subordinate in all respects to the provisions of the Governing Documents.


                3.     Acknowledgment of Governing Documents Receipt and Applicability. By initialing this paragraph
    in the space provided below, Tenant acknowledges receipt of a copy of the Declaration and Rules, and
    acknowledges that Tenant is obligated to comply with the Governing Documents. Tenant further acknowledges
    that Tenant's failure to comply with the terms of the Governing Documents shall constitute a material breach of
    the Lease. Compliance includes, but is not limited to, refraining from engaging in noxious or offensive activity,
    picking up after pets, and refraining from storing items outside the Unit without prior Board permission.


                                     Tenant Imt1a     JVV
                                              . . Is: ::::::....._         Tenant Initials: !W


                4.     Use. Unit Owner and Tenant acknowledge and agree that the Tenant shall use the Unit for single
    family residential use only, and will not conduct a trade or business in or from any Unit that would violate the
    single family residential use restrictions set out in Section 9.1 of the Declaration.


                5.     Six Month Minimum. Unit Owner and Tenant agree that, if the Lease to which this Lease
    Addendum is attached is for an initial term of less than six (6) months, this Lease Addendum operates to increase
    the initial term of the Lease to six (6) months, pursuant to Section 9.17.1 of the Declaration.


                6.     Payment of Fees and Assessments. Unit Owner and Tenant acknowledge that it is the
    responsibility of the Unit Owner to pay all Condominium fees and assessments assessed or charged against the




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Unit in accordance with the Condominium legal documents. Section 9.17.4 of the Declaration provides as follows:


        Rent to Association. If a Unit or portion of a Unit is leased by its Owner, the Board may, upon
        written notice to such Owner and its tenant, collect, and if it exercises its right to do so the tenant
        or tenants shall pay to the Board, so much of the rent for such Unit as is required to pay any
        amounts due the Association hereunder, plus interest and costs if the same are in default over
        sixty (60) days. The tenant shall not have the right to question payment over to the Board, and
        such payment will discharge the tenant's duty of payment to the Owner for rent, to the extent
        such rent is paid to the Association, but will not discharge the liability of the Owner or purchaser
        and the Unit under this Declaration for assessments and charges, or operate as an approval of the
        lease. The Board shall not exercise this power where a receiver has been appointed with respect
        to the Unit or its Owner; nor in derogation of any rights which a Mortgagee of such Unit may have
        with respect to such rents. Other than as stated in this Section, there is no restriction on the right
        of any Unit Owner to lease its Unit.


The Unit Owner and Tenant therefore agree that, in the event the Unit Owner is more than sixty (60) days
delinquent in payment of assessments or other costs to the Association, then Tenant shall be obligated by Section
9.17.4 of the Declaration and by this Addendum to the Lease to pay its rent to the Association, which shall apply
amounts received from Tenant against those amounts due to the Association from Unit Owner. Unit Owner
agrees that Unit Owner will not interfere with Tenant's performance of Tenant's obligation under Section 9.17.4
of the Declaration to pay rent over to the Association. Tenant shall have a right to rely upon Unit Owner's
agreement not to interfere with Tenant's performance of Tenant's obligation under Section 9.17.4 of the
Declaration. A demand by Unit Owner upon Tenant that Tenant pay to Landlord an amount Tenant has paid, or is
required to pay, to the Association pursuant to Section 9.17.4 of the Declaration, shall constitute a material
breach of the Lease by Unit Owner.


        7.      Contact Information. Unit Owner acknowledges that Unit Owner is required to provide the
Association with Unit Owner's current mailing address, and agrees to notify the Association of any change of Unit
Owner's address. Unit Owner further agrees to provide the Association with the name, mailing address, and
telephone number (optional: email address) of each person occupying the Unit under any Lease.


        8.      Right to Enter. Unit Owner and Tenant acknowledge and agree that, pursuant to the Declaration,
the Board of Directors and/or the Managing Agent of the Condominium Association and/or their employees and
agents, have a right of access to the Unit in the event of emergencies, and to effect repairs and other work which
the Board deems necessary in the performance of its duties. Reasonable notice of entry will be given in advance
to Tenant provided, however, that in case of emergency, as determined by the Board of Directors or an officer of
the Association or the Managing Agent (or its employees or agents) in his/its/their sole discretion, the right of
entry will be immediate, whether Tenant is present at the time or not.


        9.      Tenant Conduct. Unit Owner acknowledges and agrees that, pursuant to Section 12.10 of the
Declaration, Unit Owner is responsible for the conduct of its Tenant, and that Unit Owner is liable to the
Association for damage and expenses the Association incurs as a result of misconduct by Tenant. Unit Owner and
Tenant acknowledge that the charges for repair or replacement of any damage to the Condominium caused by




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Tenant misconduct in excess of any Association Insurance proceeds shall be specially assessed to the Unit and will
be both a personal obligation for both the Unit Owner and Tenant and a lien on the Unit.

        10.     Compliance With Laws. Unit Owner and Tenant acknowledge and agree to comply with all
Federal, State and local laws, including but not limited to those addressing the cleanliness, use, occupancy and
preservation of the Unit and Condominium premises.

         11.      Insurance. Tenant agrees to obtain and maintain renters' Insurance throughout the duration of
the Lease and to provide a copy of the policy to Unit Owner. Upon request a Unit Owner agrees to provide a copy
of the renter's insurance policy to the Association for Its records.

       12.    Copies. Unit Owner agrees to provide the Association with a signed copy of the Lease and this
Lease Addendum for its records.

        13.     Severability. It is the Intention of the parties hereto that the provisions of this Lease Addendum
are severable from the Lease and from each other so that if any provision Is Invalid or void under any law or
ordinance, the remainder shall be unaffected thereby.

                 IN WITNESS WHEREOF, the Unit Owner and Tenant(s) have executed this Addendum to Lease effective on
the day and year first above written.




Tenant 1.                                                     l'enanlll

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~.r. T;;,T)' ,


Signature                                                    Signature

James Westbrook                                               Tanya Westbrook
Printed Name                                                 Printed Name




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                 Document created by
                 11/08/2018 - 3:38:44 PM


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